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    8   State of California
    9                    IN THE UNITED STATES DISTRICT COURT
   10                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
   11                                    CIVIL DIVISION
   12
   13
      VIRGINIA DUNCAN, RICHARD              17-cv-1017-BEN-JLB
   14 LEWIS, PATRICK LOVETTE,
      DAVID MARGUGLIO,                      DECLARATION OF SAUL
   15 CHRISTOPHER WADDELL, and              CORNELL
      CALIFORNIA RIFLE & PISTOL
   16 ASSOCIATION, INC., a California       Courtroom: 5A
      corporation,                          Judge:        Hon. Roger T. Benitez
   17                                       Action Filed: May 17, 2017
                                Plaintiffs,
   18
                 v.
   19
   20 ROB BONTA, in his official capacity as
      Attorney General of the State of
   21 California; and DOES 1-10,
   22                                Defendants.
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    1                        DECLARATION OF SAUL CORNELL
    2         I, Saul Cornell, declare under penalty of perjury that the following is true and
    3   correct:
    4         1.     I have been asked to provide an expert opinion on the history of
    5   firearms regulation in the Anglo-American legal tradition, with a particular focus on
    6   how the Founding era understood the right to bear arms, as well as the
    7   understanding of the right to bear arms held at the time of the ratification of the
    8   Fourteenth Amendment to the United States Constitution. In New York State Rifle
    9   & Pistol Ass’n Inc. v. Bruen, the U.S. Supreme Court underscored that text, history,
   10   and tradition are the foundation of modern Second Amendment jurisprudence. This
   11   modality of constitutional analysis requires that courts analyze history and evaluate
   12   the connections between modern gun laws and earlier approaches to firearms
   13   regulation in the American past. My report explores these issues in some detail.
   14   Finally, I have been asked to evaluate the statute at issue in this case, particularly
   15   regarding its connection to the tradition of firearms regulation in American legal
   16   history.
   17         2.     This declaration is based on my own personal knowledge and
   18   experience, and if I am called to testify as a witness, I could and would testify
   19   competently to the truth of the matters discussed in this declaration.
   20                      BACKGROUND AND QUALIFICATIONS
   21         3.     I am the Paul and Diane Guenther Chair in American History at
   22   Fordham University. The Guenther Chair is one of three endowed chairs in the
   23   history department at Fordham and the only one in American history. In addition to
   24   teaching constitutional history at Fordham University to undergraduates and
   25   graduate students, I teach constitutional law at Fordham Law School. I have been a
   26   Senior Visiting research scholar on the faculty of Yale Law School, the University
   27   of Connecticut Law School, and Benjamin Cardozo Law School. I have given
   28   invited lectures, presented papers at faculty workshops, and participated in
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    1   conferences on the topic of the Second Amendment and the history of gun
    2   regulation at Yale Law School, Harvard Law School, Stanford Law School, UCLA
    3   Law School, the University of Pennsylvania Law School, Columbia Law School,
    4   Duke Law School, Pembroke College Oxford, Robinson College, Cambridge,
    5   Leiden University, and McGill University.1
    6         4.     My writings on the Second Amendment and gun regulation have been
    7   widely cited by state and federal courts, including the majority and dissenting
    8   opinions in Bruen.2 My scholarship on this topic has appeared in leading law
    9   reviews and top peer-reviewed legal history journals. I authored the chapter on the
   10   right to bear arms in The Oxford Handbook of the U.S. Constitution and co-
   11   authored the chapter in The Cambridge History of Law in America on the Founding
   12   era and the Marshall Court, the period that includes the adoption of the Constitution
   13   and the Second Amendment.3 Thus, my expertise not only includes the history of
   14   gun regulation and the right to keep and bear arms, but also extends to American
   15   legal and constitutional history broadly defined. I have provided expert witness
   16   testimony in Rocky Mountain Gun Owners, Nonprofit Corp. v. Hickenlooper, No.
   17   14-cv-02850 (D. Colo.); Chambers, v. City of Boulder, No. 2018 CV 30581 (Colo.
   18   D. Ct., Boulder Cnty.), Zeleny v. Newsom, No. 14-cv-02850 (N.D. Cal.), and Miller
   19   v. Smith, No. 2018-cv-3085 (C.D. Ill.); Jones v. Bonta, 3:19-cv-01226-L-AHG
   20   (S.D. Cal.), 34 F.4th 704 (9th Cir. 2022); Baird v. Bonta, No. 2:19-cv-00617 (E.D.
   21   Cal.); Worth v. Harrington, No. 21-cv-1348 (D. Minn.); Miller v. Bonta, No. 3:19-
   22   cv-01537-BEN-JLB (S.D. Cal.).
   23
              1
   24            For a full curriculum vitae listing relevant invited and scholarly
        presentations, see Exhibit 1.
   25          2
                 N.Y. State Rifle & Pistol Ass’n v. Bruen, 142 S. Ct. 2111 (2022).
               3
   26            Saul Cornell, The Right to Bear Arms, in THE OXFORD HANDBOOK OF THE
        U.S. CONSTITUTION 739–759 (Mark Tushnet, Sanford Levinson & Mark Graber
   27   eds., 2015); Saul Cornell & Gerald Leonard, Chapter 15: The Consolidation of the
        Early Federal System, in 1 THE CAMBRIDGE HISTORY OF LAW IN AMERICA 518–544
   28   (Christopher Tomlins & Michael Grossberg eds., 2008).
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    1                         RETENTION AND COMPENSATION
    2         5.     I am being compensated for services performed in the above-entitled
    3   case at an hourly rate of $500 for reviewing materials, participating in meetings,
    4   and preparing reports; $750 per hour for depositions and court appearances; and an
    5   additional $100 per hour for travel time. My compensation is not contingent on the
    6   results of my analysis or the substance of any testimony.
    7              BASIS FOR OPINION AND MATERIALS CONSIDERED
    8         6.     The opinion I provide in this report is based on my review of the
    9   amended complaint filed in this lawsuit, my review of the local ordinances at issue
   10   in this lawsuit, my education, expertise, and research in the field of legal history.
   11   The opinions contained herein are made pursuant to a reasonable degree of
   12   professional certainty.
   13                               SUMMARY OF OPINIONS
   14         7.     Understanding text, history, and tradition require a sophisticated grasp
   15   of historical context. One must canvass the relevant primary sources, secondary
   16   literature, and jurisprudence to arrive at an understanding of the scope of
   17   permissible regulation consistent with the Second Amendment.
   18         8.     It is impossible to understand the meaning and scope of Second
   19   Amendment protections without understanding the way Americans in the Founding
   20   era approached legal questions and rights claims. In contrast to most modern
   21   lawyers, the members of the First Congress who wrote the words of the Second
   22   Amendment and the American people who enacted the text into law were well
   23   schooled in English common law ideas. Not every feature of English common law
   24   survived the American Revolution, but there were important continuities between
   25   English law and the common law in America.4 Each of the new states, either by
   26         4
               William B. Stoebuck, Reception of English Common Law in the American
        Colonies, 10 WM. & MARY L. REV. 393 (1968); MD. CONST. OF 1776,
   27   DECLARATION OF RIGHTS, art. III, § 1; Lauren Benton & Kathryn Walker, Law for
        the Empire: The Common Law in Colonial America and the Problem of Legal
   28                                                                    (continued…)
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    1   statute or judicial decision, adopted multiple aspects of the common law, focusing
    2   primarily on those features of English law that had been in effect in the English
    3   colonies for generations.5 No legal principle was more important to the common
    4   law than the concept of the peace.6 As one early American justice of the peace
    5   manual noted: “the term peace, denotes the condition of the body politic in which
    6   no person suffers, or has just cause to fear any injury.”7 Blackstone, a leading
    7   source of early American views about English law, opined that the common law
    8   “hath ever had a special care and regard for the conservation of the peace; for peace
    9   is the very end and foundation of civil society.”8
   10         9.     In Bruen, Justice Kavanaugh reiterated Heller’s invocation of
   11   Blackstone’s authority as a guide to how early Americans understood their
   12   inheritance from England. Specifically, Justice Kavanaugh stated in unambiguous
   13   terms that there was a “well established historical tradition of prohibiting the
   14   carrying of dangerous and unusual weapons.”9 The dominant understanding of
   15   the Second Amendment and its state constitutional analogues at the time of their
   16
        Diversity, 89 CHI.-KENT L. REV. 937 (2014).
   17         5
                9 STATUTES AT LARGE OF PENNSYLVANIA 29-30 (Mitchell & Flanders eds.
   18   1903); FRANCOIS XAVIER MARTIN, A COLLECTION OF STATUTES OF THE
        PARLIAMENT OF ENGLAND IN FORCE IN THE STATE OF NORTH-CAROLINA 60–61
   19   (Newbern, 1792); Commonwealth v. Leach, 1 Mass. 59 (1804).
              6
                LAURA F. EDWARDS, THE PEOPLE AND THEIR PEACE: LEGAL CULTURE AND
   20   THE TRANSFORMATION OF INEQUALITY IN THE POST-REVOLUTIONARY SOUTH 105-
        109, 227-228 (University of North Carolina Press, 2009).
   21         7
                JOSEPH BACKUS, THE JUSTICE OF THE PEACE 23 (1816).
   22         8
                1 WILLIAM BLACKSTONE, COMMENTARIES *349.
              9
   23           District of Columbia v. Heller, 554 U.S. 570, 626−627 (2008), and n. 26.
        Blackstone and Hawkins, two of the most influential English legal writers consulted
   24   by the Founding generation, described these types of limits in slightly different
        terms. The two different formulations related to weapons described as dangerous
   25   and unusual in one case and sometimes as dangerous or unusual in the other
        instance, see Saul Cornell, The Right to Carry Firearms Outside of the Home:
   26   Separating Historical Myths from Historical Realities, 39 FORDHAM URB. L.J.
        1695, 1713 (2012). It is also possible that the phrase was an example of an archaic
   27   grammatical and rhetorical form hendiadys; see Samuel Bray, ‘Necessary AND
        Proper’ and ‘Cruel AND Unusual’: Hendiadys in the Constitution, 102 VIRGINIA L.
   28   REV. 687 (2016).
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    1   adoption in the Founding period forged an indissoluble link between the right to
    2   keep and bear arms with the goal of preserving the peace.10
    3         10.     “Constitutional rights,” Justice Scalia wrote in Heller, “are enshrined
    4   with the scope they were thought to have when the people adopted them.”11
    5   Included in this right was the most basic right of all: the right of the people to
    6   regulate their own internal police. Although modern lawyers and jurists are
    7   accustomed to thinking of state police power, the Founding generation viewed this
    8   concept as a right, not a power.12 The first state constitutions clearly articulated
    9   such a right — including it alongside rights more familiar to modern Americans,
   10   most notably, the right to bear arms.13 Pennsylvania’s Constitution framed this
   11   estimable right succinctly: “That the people of this State have the sole, exclusive
   12   and inherent right of governing and regulating the internal police of the same.”14
   13         10
                  On Founding-era conceptions of liberty, see JOHN J. ZUBLY, THE LAW OF
   14   LIBERTY (1775). The modern terminology to describe this concept is “ordered
        liberty.” See Palko v. Connecticut, 302 U.S, 319, 325 (1937). For a more recent
   15   elaboration of the concept, JAMES E. FLEMING & LINDA C. MCCLAIN, ORDERED
        LIBERTY: RIGHTS, RESPONSIBILITIES, AND VIRTUES (Harvard University Press,
   16   2013), 44-45. On Justice Cardozo and the ideal of ordered liberty, see Palko v.
        Connecticut, 302 U.S, 319, 325 (1937); John T. Noonan, Jr., Ordered Liberty:
   17   Cardozo and the Constitution, 1 CARDOZO L. REV. 257 (1979); Jud Campbell,
        Judicial Review, and the Enumeration of Rights, 15 GEO. J.L. & PUB. POL’Y 569,
   18   576-77 (2017).
               11
                  Heller, 554 U.S. at 634–35; William J. Novak, Common Regulation: Legal
   19   Origins of State Power in America, 45 HASTINGS L.J. 1061, 1081–83 (1994);
        Christopher Tomlins, Necessities of State: Police, Sovereignty, and the
   20   Constitution, 20 J. POL’Y HIST. 47 (2008).
               12
   21             On the transformation of the Founding era’s ideas about a “police right”
        into the more familiar concept of “police power,” see generally Aaron T. Knapp,
   22   The Judicialization of Police, 2 CRITICAL ANALYSIS OF L. 64 (2015). See also
        MARKUS DIRK DUBBER, THE POLICE POWER: PATRIARCHY AND THE FOUNDATIONS
        OF AMERICAN GOVERNMENT (2005), 82-87; Christopher Tomlins, Necessities of
   23   State: Police, Sovereignty, and the Constitution, 20 J. OF POL’Y HIST. 47 (2008).
               13
   24             PA. CONST. of 1776, ch. I, art. III; MD. DECLARATION OF RIGHTS, art. IV
        (1776); N.C. DECLARATION OF RIGHTS, art. I, § 3 (1776); and VT. DECLARATION OF
   25   RIGHTS, art. V (1777).
              14
   26            Modern style police forces did not emerge until the middle of the next
        century, and although these early police forces were modeled on military style
   27   organizations, they did not routinely carry firearms until after the Civil War, see Scott
        W. Phillips, A Historical Examination of Police Firearms 94 THE POLICE
        JOURNAL 122 (2021).
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    1   Thus, if Justice Scalia’s rule applies to the scope of the right to bear arms, it must
    2   also apply to the scope of the right of the people to regulate their internal police.
    3   The history of gun regulation in the decades after the right to bear arms was
    4   codified in both the first state constitutions and the federal bill of rights underscores
    5   this important point.
    6         11.    In the years following the adoption of the Second Amendment and its
    7   state analogues, firearm regulation increased. Indeed, the individual states exercised
    8   their police powers to address longstanding issues and novel problems created by
    9   firearms in American society. In particular, the states regulated and when
   10   appropriate prohibited categories of weapons deemed to be dangerous or unusual.
   11   I.   THE HISTORICAL INQUIRY REQUIRED BY BRUEN, MCDONALD, AND
   12        HELLER
   13         12.    The United States Supreme Court’s decisions in Heller, McDonald15,

   14   and Bruen have directed courts to look to text and history for guideposts in

   15   evaluating the scope of permissible firearms regulation under the Second

   16   Amendment. In another case involving historical determinations, Justice Thomas,

   17   the author of the majority opinion in Bruen, has noted that judges must avoid

   18   approaching history, text, and tradition with an “ahistorical literalism.”16 Legal

   19   texts must not be read in a decontextualized fashion detached from the web of

   20   historical meaning that made them comprehensible to Americans living in the past.

   21   Instead, understanding the public meaning of constitutional texts requires a solid

   22   grasp of the relevant historical contexts.17

   23         13.    Following the mandates set out in Heller, McDonald and more recently

   24   in Bruen, history provides essential guideposts in evaluating the scope of

   25         15
                 McDonald v. City of Chicago, 561 U.S. 742 (2010).
   26         16
                 Franchise Tax Board of California v. Hyatt, 139 S. Ct. 1485, 1498 (2019)
        (Thomas, J.) (criticizing “ahistorical literalism”).
   27         17
                 See Jonathan Gienapp, Historicism and Holism: Failures of Originalist
   28   Translation, 84 FORDHAM L. REV. 935 (2015).
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    1   permissible regulation under the Second Amendment.18 Moreover, as Bruen makes
    2   clear, history neither imposes “a regulatory straightjacket nor a regulatory blank
    3   check.”19 The Court acknowledged that when novel problems created by firearms
    4   are at issue the analysis must reflect this fact: “other cases implicating
    5   unprecedented societal concerns or dramatic technological changes may require a
    6   more nuanced approach.”20 Bruen differentiates between cases in which contested
    7   regulations are responses to long standing problems and situations in which modern
    8   regulations address novel problems with no clear historical analogues from the
    9   Founding era or the era of the Fourteenth Amendment.
   10         14.     In particular, Bruen suggests three key contextually dependent
   11   inquiries21 courts must conduct to analyze the history of regulation and try and infer
   12   what the absence of a regulatory tradition means as a matter of law:
   13      • When a challenged regulation addresses a general societal problem that
   14         has persisted since the 18th century, the lack of a distinctly similar
   15         historical regulation addressing that problem is relevant evidence that
   16         the challenged regulation is inconsistent with the Second Amendment;
   17      • Likewise, if earlier generations addressed the societal problem, but did
   18         so through materially different means, that also could be evidence that
   19         a modern regulation is unconstitutional; and
   20      • If some jurisdictions actually attempted to enact analogous regulations
   21         during this timeframe, but those proposals were rejected on
   22         constitutional grounds, that rejection surely would provide some
   23         probative evidence of unconstitutionality.
   24         15.    A mechanistic strategy of digital searching for historical gun laws would
   25   be incapable of answering those historical inquiries. Instead, a historian seeking to
   26
              18
                 Bruen, 142 S. Ct. at 2127.
   27         19
                 Id. at 2133.
              20
                 Id. at 2132.
   28         21
                 Id. at 2131.
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    1   answer those inquires would need to holistically research and analyze how firearms
    2   technology has changed, how consumer demand has waxed and waned, and how the
    3   people, acting through their representatives, respond to the societal ills created by
    4   those changes.
    5         16.    In the years between Heller and Bruen, historical scholarship has
    6   expanded our understanding of the history of arms regulation in the Anglo-
    7   American legal tradition, but much more work needs to be done to fill out this
    8   picture.22 Indeed, such research is still ongoing: new materials continue to emerge;
    9   and in the months since Bruen was decided, additional evidence about the history of
   10   regulation has surfaced and new scholarship interpreting it has appeared in leading
   11   law reviews and other scholarly venues.23
   12         17.    Justice Kavanaugh underscored a key holding of Heller in his Bruen
   13   concurrence: “Like most rights, the right secured by the Second Amendment is
   14   not unlimited. From Blackstone through the 19th-century cases, commentators
   15   and courts routinely explained that the right was not a right to keep and carry any
   16   weapon whatsoever in any manner whatsoever and for whatever purpose.”
   17   Crucially, the Court further noted that “we do think that Heller and McDonald point
   18   toward at least two metrics: how and why the regulations burden a law-abiding
   19   citizen’s right to armed self-defense.”24
   20         18.        One overarching principle regarding firearms regulation does
   21   emerge from this period and it reflects not only the common law assumptions
   22   familiar to the Founding generation, but it is hard-wired into the Second
   23
              22
   24            Eric M. Ruben & Darrell A. H. Miller, Preface: The Second Generation of
        Second Amendment Law & Policy, 80 L. & CONTEMP. PROBS. 1 (2017).
   25         23
                 Symposium — The 2nd Amendment at the Supreme Court: "700 Years Of
        History" and the Modern Effects of Guns in Public, 55 U.C. DAVIS L. REV. 2495
   26   (2022); NEW HISTORIES OF GUN RIGHTS AND REGULATION: ESSAYS ON THE PLACE
        OF GUNS IN AMERICAN LAW AND SOCIETY (Joseph Blocher, Jacob D. Charles &
   27   Darrell A.H. Miller eds., forthcoming 2023).
              24
   28            Bruen, 142 S. Ct. at 2132–33.
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    1    Amendment itself. As Justice Scalia noted in Heller, and Justice Thomas reiterated
    2    in Bruen, the original Second Amendment was a result of interest balancing
    3    undertaken by the people themselves in framing the federal Constitution and the
    4    Bill of Rights. Thus, from its outset the Second Amendment recognizes both the
    5    right to keep and bear arms and the right of the people to regulate arms to promote
    6    the goals of preserving a free state. An exclusive focus on rights and a
    7    disparagement of regulation is thus antithetical to the plain meaning of the text of
    8    the Second Amendment. Although rights and regulation are often cast as
    9    antithetical in the modern gun debate, the Founding generation saw the two goals as
   10    complimentary. Comparing the language of the Constitution’s first two
   11    amendments and their different structures and word choice makes this point crystal
   12    clear. The First Amendment prohibits “abridging” the rights it protects. In standard
   13    American English in the Founding era, to “abridge” meant to “reduce.” Thus, the
   14    First Amendment prohibits a diminishment of the rights it protects. The Second
   15    Amendment’s language employs a very different term, requiring that the right to
   16    bear arms not be “infringed.”25 In Founding-era American English, the word
   17    “infringement” meant to “violate” or “destroy.” In short, when read with the
   18    Founding era’s interpretive assumptions and legal definitions in mind, the two
   19    Amendments set up radically different frameworks for evaluating the rights they
   20    enshrined in constitutional text. Members of the Founding generation would have
   21    understood that the legislature could regulate the conduct protected by the Second
   22    Amendment and comparable state arms bearing provisions as long such regulations
   23    did not destroy the underlying right.
   24
               25
                  The distinction emerges clearly in a discussion of natural law and the law
   25    of nations in an influential treatise on international law much esteemed by the
         Founding generation: “Princes who infringe the law of nations, commit as great a
   26    crime as private people, who violate the law of nature,” J.J. BURLAMAQUI, THE
         PRINCIPLES OF NATURAL LAW (Thomas Nugent trans., 1753) at 201. This book was
   27    among those included in the list of important texts Congress needed to procure, see
         Report on Books for Congress, [23 January] 1783,” Founders Online, National
   28    Archives, https://founders.archives.gov/documents/Madison/01-06-02-0031.
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    1          19.    John Burn, author of an influential eighteenth-century legal dictionary,
    2    illustrated the concept of infringement in the context of his discussion of violations
    3    of rights protected by the common law. Liberty, according to Burns, was not
    4    identical to that “wild and savage liberty” of the state of nature. True liberty, by
    5    contrast, only existed when individuals created civil society and enacted laws and
    6    regulations that promoted ordered liberty.26
    7          20.    Similarly, Nathan Bailey’s Dictionarium Britannicum (1730) defined
    8    “abridge” as to “shorten,” while “infringe” was defined as to “break a law.”27 And
    9    his 1763 New Universal Dictionary repeats the definition of “abridge” as “shorten”
   10    and “infringe” as “to break a law, custom, or privilege.”28 Samuel Johnson’s
   11    Dictionary of the English Language (1755) defines “infringe” as “to violate; to
   12    break laws or contracts” or “to destroy; to hinder.”29 Johnson’s definition of
   13    “abridge” was “to shorten” and “to diminish” or “to deprive of.”30 And Noah
   14    Webster’s An American Dictionary of the English Language (1828) largely repeats
   15    Johnson’s definitions of “infringe” and “abridge.”31
   16          21.    Regulation, including robust laws, were not understood to be an
   17    “infringement” of the right to bear arms, but rather the necessary foundation for the
   18    proper exercise of that right as required by the concept of ordered liberty.32 As one
   19
               26
                  Liberty, A NEW LAW DICTIONARY (1792) See also, Jud Campbell,
   20    Natural Rights, Positive Rights, and the Right to Keep and Bear Arms, 83 LAW &
         CONTEMP. PROBS. 31, 32–33 (2020)
   21          27
                  Abridge, DICTIONARIUM BRITANNICUM (1730).
   22          28
                  Abridge, NEW UNIVERSAL DICTIONARY (1763).
               29
   23             Infringe, DICTIONARY OF THE ENGLISH LANGUAGE (1755).
               30
                  Abridge, DICTIONARY OF THE ENGLISH LANGUAGE (1755).
   24          31
                  Abridge, Infringe, AN AMERICAN DICTIONARY OF THE ENGLISH LANGUAGE
   25    (1828).
               32
                  Dan Edelstein, Early-Modern Rights Regimes: A Genealogy of
   26    Revolutionary Rights, 3 CRITICAL ANALYSIS L. 221, 233–34 (2016). See generally
         GERALD LEONARD & SAUL CORNELL, THE PARTISAN REPUBLIC: DEMOCRACY,
   27    EXCLUSION, AND THE FALL OF THE FOUNDERS’ CONSTITUTION, 1780s–1830s, at 2;
         Victoria Kahn, Early Modern Rights Talk, 13 YALE J.L. & HUMAN. 391 (2001)
   28                                                                        (continued…)
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    1    patriotic revolutionary era orator observed, almost a decade after the adoption of the
    2    Constitution: “True liberty consists, not in having no government, not in a
    3    destitution of all law, but in our having an equal voice in the formation and
    4    execution of the laws, according as they effect [sic] our persons and property.”33
    5    By allowing individuals to participate in politics and enact laws aimed at promoting
    6    the health, safety, and well-being of the people, liberty flourished.34
    7          22.    The key insight derived from taking the Founding era conception of
    8    rights seriously and applying the original understanding of the Founding era’s
    9    conception of liberty is the recognition that regulation and liberty were not
   10    antithetical to one another. The inclusion of rights guarantees in constitutional texts
   11    was not meant to place them beyond the scope of legislative control. “The point of
   12    retaining natural rights,” originalist scholar Jud Campbell reminds us “was not to
   13    make certain aspects of natural liberty immune from governmental regulation.
   14    Rather, retained natural rights were aspects of natural liberty that could be restricted
   15    only with just cause and only with consent of the body politic.”35 Rather than limit
   16    rights, regulation was the essential means of preserving rights, including self-
   17    (discussing how the early modern language of rights incorporated aspects of natural
         rights and other philosophical traditions); Joseph Postell, Regulation During the
   18    American Founding: Achieving Liberalism and Republicanism, 5 AM. POL.
         THOUGHT 80 (2016) (examining the importance of regulation to Founding political
   19    and constitutional thought).
                33
   20              Joseph Russell, An Oration; Pronounced in Princeton, Massachusetts, on
         the Anniversary of American Independence, July 4, 1799, at 7 (July 4, 1799), (text
   21    available in the Evans Early American Imprint Collection) (emphasis in original).
                34
                   See QUENTIN SKINNER, LIBERTY BEFORE LIBERALISM (1998), 17-36
   22    (examining neo-Roman theories of free citizens and how it impacted the
         development of political theory in England); THE NATURE OF RIGHTS AT THE
   23    AMERICAN FOUNDING AND BEYOND (Barry Alan Shain ed., 2007), 125-27, 139-43
         (discussing how the Founding generation approached rights, including the
   24    republican model of protecting rights by representation).
   25          35
                 Jud Campbell, The Invention of First Amendment Federalism, 97 TEX. L.
   26    REV. 517, 527 (2019) (emphasis in original). See generally Saul Cornell, Half
         Cocked: The Persistence of Anachronism and Presentism in the Academic Debate
   27    Over the Second Amendment, 106 J. OF CRIM. L. AND CRIMINOLOGY 203, 206
         (2016) (noting that the Second Amendment was not understood in terms of the
   28    simple dichotomies that have shaped modern debate over the right to bear arms).
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    1    defense.36 In fact, without robust regulation of arms, it would have been impossible
    2    to implement the Second Amendment and its state analogues. Mustering the militia
    3    required keeping track of who had weapons and included the authority to inspect
    4    those weapons and fine individuals who failed to store them safely and keep them
    5    in good working order.37 The individual states also imposed loyalty oaths,
    6    disarming those who refused to take such oaths. No state imposed a similar oath as
    7    pre-requisite to the exercise of First Amendment-type liberties. Thus, some forms
    8    of prior restraint, impermissible in the case of expressive freedoms protected by the
    9    First Amendment or comparable state provisions, were understood by the Founding
   10    generation to be perfectly consistent with the constitutional right to keep and bear
   11    arms.38
   12          23.    In keeping with the clear public meaning of the Second Amendment’s
   13    text and comparable state provisions, early American governments enacted laws to
   14    preserve the rights of law-abiding citizens to keep and bear arms and promote the
   15    equally vital goals of promoting public safety. As long as such laws did not destroy
   16    the right of self-defense, the individual states enjoyed broad latitude to regulate
   17    arms. 39
   18          36
                   See Jud Campbell, Judicial Review and the Enumeration of Rights, 15
         GEO. J.L. & PUB. POL’Y 569, 576–77 (2017). Campbell’s work is paradigm-
   19    shifting, and it renders Justice Scalia’s unsubstantiated claim in Heller that the
         inclusion of the Second Amendment in the Bill of Rights placed certain forms of
   20    regulation out of bounds totally anachronistic. This claim has no foundation in
         Founding-era constitutional thought, but reflects the contentious modern debate
   21    between Justice Black and Justice Frankfurter over judicial balancing, on Scalia’s
         debt to this modern debate, see generally SAUL CORNELL, THE POLICE POWER AND
   22    THE AUTHORITY TO REGULATE FIREARMS IN EARLY AMERICA 1–2 (2021),
         https://www.brennancenter.org/sites/default/files/2021-06/Cornell_final.pdf
   23    [https://perma.cc/J6QD-4YXG] and Joseph Blocher, Response: Rights as Trumps of
         What?, 132 HARV. L. REV. 120, 123 (2019).
   24           37
                   H. RICHARD UVILLER & WILLIAM G. MERKEL, THE MILITIA AND THE
   25    RIGHT TO ARMS, OR, HOW THE SECOND AMENDMENT FELL SILENT 150 (2002).
                38
                   Saul Cornell, Commonplace or Anachronism: The Standard Model, the
   26    Second Amendment, and the Problem of History in Contemporary Constitutional
         Theory 16 CONSTITUTIONAL COMMENTARY 988 (1999).
   27           39
                   Saul Cornell & Nathan DeDino, A Well Regulated Right: The Early
   28    American Origins of Gun Control, 73 FORDHAM L. REV. 487 (2004).
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    1    II.   FROM MUSKETS TO PISTOLS: CHANGE AND CONTINUITY IN EARLY
               AMERICAN FIREARMS REGULATION
    2
    3           24.   Guns have been regulated from the dawn of American history.40 At the

    4    time Heller was decided, there was little scholarship on the history of gun

    5    regulation and a paucity of quality scholarship on early American gun culture.41

    6    Fortunately, a burgeoning body of scholarship has illuminated both topics,

    7    deepening scholarly understanding of the relevant contexts needed to implement

    8    Bruen’s framework.42

    9           25.   The common law that Americans inherited from England always

   10    acknowledged that the right of self-defense was not unlimited but existed within a

   11    well-delineated jurisprudential framework. The entire body of the common law

   12    was designed to preserve the peace.43 Statutory law, both in England and America

   13    functioned to further secure the peace and public safety. Given these indisputable

   14    facts, the Supreme Court correctly noted, the right to keep and bear arms was never

   15    understood to prevent government from enacting a broad range of regulations to

   16    promote the peace and maintain public safety.44 To deny such an authority would

   17    be to convert the Constitution into a suicide pact and not a charter of government.

   18    In keeping with this principle, the Second Amendment and its state analogues were

   19    understood to enhance the concept of ordered liberty, not undermine it.45

   20
   21
                40
   22             Robert J. Spitzer, Gun Law History in the United States and Second
         Amendment Rights, 80 L. & CONTEMP. PROBS. 55 (2017).
   23          41
                  Id.
               42
   24             Ruben & Miller, supra note 22, at 1.
               43
                  Saul Cornell, The Right to Keep and Carry Arms in Anglo-American Law:
   25    Preserving Liberty and Keeping the Peace, 80 L. & CONTEMP. PROBS. 11 (2017).
               44
   26             McDonald, 561 U.S. at 785 (noting “‘[s]tate and local experimentation
         with reasonable firearms regulations will continue under the Second
   27    Amendment’”).
               45
                   See generally Saul Cornell, The Long Arc Of Arms Regulation In Public:
   28    From Surety To Permitting, 1328-1928, 55 U.C. DAVIS L. REV. 2547 (2022)
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    1          26.    Bruen’s methodology requires judges to distinguish between the
    2    relevant history necessary to understand early American constitutional texts and a
    3    series of myths about guns and regulation that were created by later generations to
    4    sell novels, movies, and guns themselves.46 Unfortunately, many of these myths
    5    continue to cloud legal discussions of American gun policy and Second
    6    Amendment jurisprudence.47
    7          27.    Although it is hard for many modern Americans to grasp, there was no
    8    comparable societal ill to the modern gun violence problem for Americans to solve
    9    in the era of the Second Amendment. A combination of factors, including the
   10    nature of firearms technology and the realities of living life in small, face-to-face,
   11    and mostly homogenous rural communities that typified many parts of early
   12    America, militated against the development of such a problem. In contrast to
   13    modern America, homicide was not the problem that government firearm policy
   14    needed to address at the time of the Second Amendment.48
   15          28.    The surviving data from New England is particularly rich and has
   16    allowed scholars to formulate a much better understanding of the dynamics of early
   17    American gun policy and relate it to early American gun culture.49 Levels of gun
   18    violence among those of white European ancestry in the era of the Second
   19    Amendment were relatively low compared to modern America. These low levels of
   20
               46
                  PAMELA HAAG, THE GUNNING OF AMERICA: BUSINESS AND THE MAKING OF
   21    AMERICAN GUN CULTURE 198-201 (2016).
               47
   22             RICHARD SLOTKIN, GUNFIGHTER NATION: THE MYTH OF THE FRONTIER IN
         TWENTIETH-CENTURY AMERICA 10-16 (1993); JOAN BURBICK, GUN SHOW NATION:
   23    GUN CULTURE AND AMERICAN DEMOCRACY xvi-xxii (2006).
               48
                  RANDOLPH ROTH, AMERICAN HOMICIDE 56, 315 (2009).
   24          49
                  It is important to recognize that there were profound regional differences in
   25    early America. See JACK P. GREENE, PURSUITS OF HAPPINESS: THE SOCIAL
         DEVELOPMENT OF EARLY MODERN BRITISH COLONIES AND THE FORMATION OF
   26    AMERICAN CULTURE 170–176 (1988). These differences also had important
         consequences for the evolution of American law. See generally David Thomas
   27    Konig, Regionalism in Early American Law, in 1 THE CAMBRIDGE HISTORY OF LAW
         IN AMERICA 144 (Michael Grossberg & Christopher Tomlins eds., 2008).
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    1    violence among persons of European ancestry contrasted with the high levels of
    2    violence involving the tribal populations of the region. The data presented in
    3    Figure 1 is based on the pioneering research of Ohio-State historian Randolph Roth.
    4    It captures one of the essential facts necessary to understand what fears motivated
    5    American gun policy in the era of the Second Amendment. The pressing problem
    6    Americans faced at the time of the Second Amendment was that citizens were
    7    reluctant to purchase military style weapons which were relatively expensive and
    8    had little utility in a rural society. Americans were far better armed than their
    9    British ancestors, but the guns most Americans owned and desired were those most
   10    useful for life in an agrarian society: fowling pieces and light hunting muskets. 50
   11    Killing pests and hunting birds were the main concern of farmers, and their choice
   12    of firearm reflected these basic facts of life. Nobody bayoneted turkeys, and pistols
   13    were of limited utility for anyone outside of a small elite group of wealthy,
   14    powerful, and influential men who needed these weapons if they were forced to
   15    face an opponent on the field of honor in a duel, as the tragic fate of Alexander
   16    Hamilton so vividly illustrates.51
   17          29.    Limits in Founding-era firearms technology also militated against the
   18    use of guns as effective tools of interpersonal violence in this period. Eighteenth-
   19    century muzzle-loading weapons, especially muskets, took too long to load and
   20    were therefore seldom used to commit crimes. Nor was keeping guns loaded a
   21    viable option because the black powder used in these weapons was not only
   22    corrosive, but it attracted moisture like a sponge. Indeed, the iconic image of rifles
   23    and muskets hung over the mantle place in early American homes was not primarily
   24
               50
                  Kevin M. Sweeney, Firearms Ownership and Militias in Seventeenth and
   25    Eighteenth Century England and America, in A RIGHT TO BEAR ARMS?: THE
         CONTESTED ROLE OF HISTORY IN CONTEMPORARY DEBATES ON THE SECOND
   26    AMENDMENT (Jennifer Tucker et al. eds., 2019).
               51
   27             Joanne B. Freeman, AFFAIRS OF HONOR: NATIONAL POLITICS IN THE NEW
         REPUBLIC (2001).
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    1    a function of aesthetics or the potent symbolism of the hearth, as many today
    2    assume. As historian Roth notes: “black powder’s hygroscopic, it absorbs water, it
    3    corrodes your barrel, you can’t keep it loaded. Why do they always show the gun
    4    over the fireplace? Because that’s the warmest, driest place in the house.”52
    5    Similar problems also limited the utility of muzzle-loading pistols as practical tools
    6    for self-defense or criminal offenses. Indeed, at the time of the Second
    7    Amendment, over 90% of the weapons owned by Americans were long guns, not
    8    pistols.53
    9
   10                                           Figure 1

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   21           30.   As Roth’s data makes clear, there was not a serious homicide problem
   22    looming over debates about the Second Amendment. Nor were guns the primary
   23    weapon of choice for those with evil intent during this period.54 The problem the
   24    Founding generation faced was that Americans were reluctant to purchase the type
   25           52
                   Randolph Roth, Transcript: Why is the United States the Most Homicidal in
   26    the Affluent World, NATIONAL INSTITUTE OF JUSTICE (Dec. 1, 2013),
         https://nij.ojp.gov/media/video/24061#transcript--0.
   27           53
                   Sweeney, supra note 50.
                54
   28              HAAG, supra note 46.
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    1    of weapons needed to effectively arm their militias. When the U.S. government
    2    surveyed the state of the militia’s preparedness shortly after Jefferson took office in
    3    1800, the problem had not been solved. Although Massachusetts boasted above
    4    80% of its militia armed with military quality weapons, many of the southern states
    5    lagged far behind, with Virginia and North Carolina hovering at about less than half
    6    the militia properly armed.55
    7             31.   Government policy, both at the state and federal level, responded to
    8    these realities by requiring a subset of white citizens, those capable of bearing arms,
    9    to acquire at their own expense a military quality musket and participate in
   10    mandatory training and other martial activities.56 Gun policy in the Founding era
   11    reflected these realities, and accordingly, one must approach any analogies drawn
   12    from this period’s regulations with some caution when applying them to a modern
   13    heterogeneous industrial society capable of producing a bewildering assortment of
   14    firearms whose lethality would have been almost unimaginable to the Founding
   15    generation.57 Put another way, laws created for a society without much of a gun
   16    violence problem enacted at a time of relative gun scarcity, at least in terms of
   17    militia weapons, have limited value in illuminating the challenges Americans face
   18    today.
   19             32.   The other aspect of gun policy that needs to be acknowledged is the
   20    active role the federal government took in encouraging the manufacturing of
   21    military arms. The American firearms industry in its infancy was largely dependent
   22    on government contracts and subsidies. Thus, government had a vested interest in
   23    determining what types of weapons would be produced. 58 Government regulation
   24             55
                  Sweeney, supra note 50.
   25             56
                  SAUL CORNELL, A WELL REGULATED MILITIA: THE FOUNDING FATHERS
         AND THE ORIGINS OF GUN CONTROL IN AMERICA (2006) at 68-70.
   26          57
                  Darrell A. H. Miller & Jennifer Tucker, Common Use, Lineage, and
   27    Lethality, 55 U.C. DAVIS L. REV. 2495 (2022).
               58
                  Lindsay Schakenbach Regele, A Different Constitutionality for Gun
   28                                                                         (continued…)
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    1    of the firearms industry also included the authority to inspect the manufactures of
    2    weapons and impose safety standards on the industry.59 Some states opted to tax
    3    some common weapons to discourage their proliferation.60
    4          33.    The calculus of individual self-defense changed dramatically in the
    5    decades following the adoption of the Second Amendment.61 The early decades of
    6    the nineteenth century witnessed a revolution in the production and marketing of
    7    guns.62 The same technological changes and economic forces that made wooden
    8    clocks and other consumer goods such as Currier and Ives prints common items in
    9    many homes also transformed American gun culture.63 These same changes also
   10    made handguns and a gruesome assortment of deadly knives, including the dreaded
   11    Bowie knife, more common. The culmination of this gradual evolution in both
   12    firearms and ammunition technology was the development of Samuel Colt’s pistols
   13
   14    Regulation, 46 HASTINGS CONST. L.Q. 523, 524 (2019); Andrew J. B. Fagal,
         American Arms Manufacturing and the Onset of the War of 1812, 87 NEW ENG. Q.
   15    526, 526 (2014).
                  59
   16                1814 Mass. Acts 464, An Act In Addition To An Act, Entitled “An Act To
         Provide For The Proof Of Fire Arms, Manufactured Within This Commonwealth,”
   17    ch. 192, § 1 (“All musket barrels and pistol barrels, manufactured within this
         Commonwealth, shall, before the same shall be sold, and before the same shall be
   18    stocked, be proved by the person appointed according to the provisions of an act . .
         .. . .”); § 2 (“That if any person of persons, from and after the passing of this act,
   19    shall manufacture, within this Commonwealth, any musket or pistol, or shall sell
         and deliver, or shall knowingly purchase any musket or pistol, without having the
   20    barrels first proved according to the provisions of the first section of this act,
         marked and stamped according the provisions of the first section of the act.”)
   21             60
                     1858-1859 N.C. Sess. Laws 34-36, Pub. Laws, An Act Entitled Revenue,
         chap. 25, § 27, pt. 15. (“The following subjects shall be annually listed, and be
   22    taxed the amounts specified: . . . Every dirk, bowie-knife, pistol, sword-cane, dirk-
         cane and rifle cane, used or worn about the person of any one at any time during the
   23    year, one dollar and twenty-five cents. Arms used for mustering shall be exempt
         from taxation.”); see also 1866 Ga. Law 27, An Act to authorize the Justices of the
   24    Inferior Courts of Camden, Glynn and Effingham counties to levy a special tax for
         county purposes, and to regulate the same.
   25             61
                     Cornell, supra note 3 at 745.
   26             62
                     Lindsay Schakenbach Regele, Industrial Manifest Destiny: American
         Firearms Manufacturing and Antebellum Expansion, 93 BUS. HIST. REV. 57 (2018).
   27             63
                     Sean Wilentz, Society, Politics, and the Market Revolution, in THE NEW
   28    AMERICAN HISTORY (Eric Foner ed., 1990).
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    1    around the time of the Mexican-American War.64 Economic transformation was
    2    accompanied by a host of profound social changes that gave rise to America’s first
    3    gun violence crisis. As cheaper, more dependable, and easily concealable handguns
    4    proliferated in large numbers, Americans, particularly southerners, began sporting
    5    them with alarming regularity. The change in behavior was most noticeable in the
    6    case of handguns. 65
    7          34.    The response of states to the emergence of new firearms that
    8    threatened the peace was regulation. In short, when confronted by changes in
    9    technology, consumer behavior, and faced with novel threats to public safety, the
   10    individual states enacted laws to address these problems. In every instance apart
   11    from a few outlier cases in the Slave South, courts upheld such limits on the
   12    unfettered exercise a right to keep and bear arms. The primary limit identified by
   13    courts in evaluating such laws was the threshold question about abridgement: did
   14    the law negate the ability to act in self-defense.66 In keeping with the clear
   15    imperative hard-wired into the Second Amendment, states singled out weapons that
   16    posed a particular danger for regulation or prohibition. Responding in this fashion
   17    was entirely consistent with Founding-era conceptions of ordered liberty, the
   18    Second Amendment and comparable state arms bearing provisions.
   19          35.    Not all guns were treated equally by the law in early America. Some
   20    guns were given heightened constitutional protection and others were treated as
   21    ordinary property subject to the full force of state police power authority.67 The
   22    fact that some weapons were treated in the same fashion as other forms of property
   23          64
                  WILLIAM N. HOSLEY, COLT: THE MAKING OF AN AMERICAN LEGEND (1st
         ed. 1996) at 23.
   24          65
                  Cornell, supra note 9, at 1716.
   25          66
                  On southern gun rights exceptionalism, see Eric M. Ruben & Saul Cornell,
         Firearms Regionalism and Public Carry: Placing Southern Antebellum Case Law
   26    in Context, 125 YALE L.J. F. 121, 128 (2015).
               67
   27             Saul Cornell, History and Tradition or Fantasy and Fiction: Which
         Version of the Past Will the Supreme Court Choose in NYSRPA v. Bruen?, 49
   28    HASTINGS CONST. L.Q. 145 (2022).
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    1    did not mean government authority over them was unlimited any more than it
    2    implied that people’s homes, chattels, or other forms of property were somehow not
    3    protected by law. Property rights in early America were highly venerated, but they
    4    were always subject to forms of regulation by the people themselves acting through
    5    their legislatures. Regulating guns and gun powder were basic exercises of the
    6    sovereignty of the people. The decision of legislatures to determine which
    7    dangerous weapons were exempted from the full protection of the constitutional
    8    right to keep and bear arms flowed inexorably out of the police power enjoyed by
    9    states, localities, and in some limited situations the Federal government when
   10    regulating land or property under its jurisdiction.
   11    III. TECHNOLOGY, MARKETING, CONSUMER BEHAVIOR, AND REGULATION:
   12         THE AMERICAN PARADIGM OF GUN REGULATION EMERGES
   13          36.     Political scientist Robert Spitzer’s overview of the history of firearms

   14    regulation underscores the dynamic governing this important tradition: “The lesson

   15    of gun regulation history here is that new technologies bred new laws when

   16    circumstances warranted.”68 States and localities have regulated gunpowder and

   17    arms since the earliest days of the American Republic. The statutes at issue in this

   18    case fit squarely within this long-established tradition of firearms regulation in

   19    America, beginning in the colonial period and stretching across time to the

   20    present.69 The adaptability of state and local police power provided the flexibility

   21    governments needed to deal with the problems created by changes in firearms

   22    technology and gun culture.

   23          37.     The claim that firearms capable of firing more than ten rounds without

   24    reloading “are nothing new” ignores the history of firearms technology, production,

   25    and use. In 1791, virtually all firearms were single-shot, muzzle-loading black

   26
   27          68
                    Supra note 39.
               69
   28               Supra note 40.
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    1    powder weapons. At that time, guns capable of firing more than a single round
    2    could best be described as exotic.
    3          38.     For example, the Girondoni rifle was a commercial failure. There are
    4    no mentions of the Girondoni rifle in the thousands of documents collected in The
    5    Founders Archive Online, or the hundreds of thousands of documents amassed in
    6    the BYU Corpora of Founding Era English. Given these deafening silences in the
    7    historical record it strains credulity to argue that ordinary Americans at the time of
    8    the Second Amendment were thinking about such weapons as the Bill of Rights
    9    was framed.
   10    IV. THE POLICE POWER AND FIREARMS REGULATION
   11          39.     The 1776 Pennsylvania Constitution, the first revolutionary
   12    constitution to assert a right to bear arms, preceded the assertion of this right by
   13    affirming a more basic rights claim: “That the people of this State have the sole,
   14    exclusive and inherent right of governing and regulating the internal police of the
   15    same.”70 The phrase “internal police” had already become common, particularly in
   16    laws establishing towns and defining the scope of their legislative authority enjoyed
   17    by representative bodies to craft laws to promote public health and safety.71 By the
   18    early nineteenth century, the term “police” was a fixture in American law.72 Thus,
   19    an 1832 American encyclopedia confidently asserted that police, “in the common
   20
               70
   21             PA. CONST. OF 1776, Ch. I, art iii.
               71
                  For other examples of constitutional language similar to Pennsylvania’s
   22    provision, N.C. CONST. OF 1776, DECLARATION OF RIGHTS, art. II; VT. CONST. OF
         1777, DECLARATION OF RIGHTS, art. IV. For other examples of this usage, see An
   23    Act Incorporating the residents residing within limits therein mentioned, in 2 NEW
         YORK LAWS 158 (1785) (establishing the town of Hudson, NY); An Act to
   24    incorporate the Town of Marietta, in LAWS PASSED IN THE TERRITORY NORTHWEST
         OF THE RIVER OHIO 29 (1791). For later examples, see 1 STATUTES OF THE STATE OF
   25    NEW JERSEY 561 (rev. ed. 1847); 1 SUPPLEMENTS TO THE REVISED STATUTES. LAWS
         OF THE COMMONWEALTH OF MASSACHUSETTS, PASSED SUBSEQUENTLY TO THE
   26    REVISED STATUTES: 1836 TO 1849, INCLUSIVE 413 (Theron Metcalf & Luther S.
         Cushing, eds. 1849).
   27          72
                  ERNST FREUND, THE POLICE POWER: PUBLIC POLICY AND CONSTITUTIONAL
   28    RIGHTS 2, n.2 (1904).
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    1    acceptation of the word, in the U. States and England, is applied to the municipal
    2    rules, institutions and officers provided for maintaining order, cleanliness &c.”73
    3    The Founding era’s conception of a basic police right located in legislatures was
    4    transmuted during the Marshall Court’s era into the judicial doctrine of the police
    5    power and would become a fixture in American law.
    6          40.    The power to regulate firearms and gunpowder has always been
    7    central to the police power and historically was shared among states, municipalities,
    8    and the federal government when it was legislating conduct on federal land and in
    9    buildings.74 The adoption of the Constitution and the Bill of Rights did not deprive
   10    states of their police powers. Indeed, if it had, the Constitution would not have
   11    been ratified and there would be no Second Amendment today. Ratification was
   12    only possible because Federalists offered Anti-Federalists strong assurances that
   13    nothing about the new government threatened the traditional scope of the individual
   14    state’s police power authority, including the authority to regulate guns and gun
   15    powder.75
   16          41.    Federalists and Anti-Federalists bitterly disagreed over many legal
   17    issues, but this one point of accord was incontrovertible. Brutus, a leading Anti-
   18    Federalist, emphatically declared that “it ought to be left to the state governments to
   19    provide for the protection and defence [sic]of the citizen against the hand of private
   20    violence, and the wrongs done or attempted by individuals to each other.”76
   21    Federalist Tench Coxe concurred, asserting that “[t]he states will regulate and
   22    administer the criminal law, exclusively of Congress.” States, he assured the
   23    American people during ratification, would continue to legislate on all matters
   24          73
                 10 ENCYCLOPEDIA AMERICANA 214 new edition (Francis Lieber ed.).
   25          74
                 Harry N. Scheiber, State Police Power, in 4 ENCYCLOPEDIA OF THE
         AMERICAN CONSTITUTION 1744 (Leonard W. Levy et al. eds., 1986).
   26         75
                 SAUL CORNELL, THE OTHER FOUNDERS: ANTIFEDERALISM AND THE
   27    DISSENTING TRADITION IN AMERICA, 1788-1828 139 (1999).
              76
                 Brutus, Essays of Brutus VII, reprinted in 2 THE COMPLETE
   28    ANTIFEDERALIST 358, 400–05 (Herbert J. Storing ed., 1981).
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    1    related to the police power “such as unlicensed public houses, nuisances, and many
    2    other things of the like nature.”77 State police power authority was at its pinnacle in
    3    matters relating to guns or gun powder.78 Thus, Massachusetts enacted a law that
    4    prohibited storing a loaded weapon in a home, a firearms safety law that recognized
    5    that the unintended discharge of firearms posed a serious threat to life and limb.79
    6    New York City even granted broad power to the government to search for gun
    7    powder and transfer powder to the public magazine for safe storage:
    8          it shall and may be lawful for the mayor or recorder, or any two
    9          Alderman of the said city, upon application made by any inhabitant
               or inhabitants of the said city, and upon his or their making oath of
   10          reasonable cause of suspicion (of the sufficiency of which the said
               mayor or recorder, or Aldermen, is and are to be the judge or
   11          judges) to issue his or their warrant or warrants, under his or their
               hand and seal, or hands and seals for searching for such gun
   12          powder, in the day time, in any building or place whatsoever.80
   13
               42.    The power to regulate firearms and gunpowder was therefore at the
   14
         very core of the police power and inheres in both states and local municipalities.
   15
         The application of the police power to firearms and ammunition was singled out as
   16
         the quintessential example of state police power by Chief Justice John Marshall in
   17
         his 1827 discussion of laws regulating gun powder in Brown v. Maryland.81 This
   18
         was so even though gunpowder was essential to the operation of firearms at that
   19
   20          77
                 Tench Coxe, A Freeman, Pa. Gazette, Jan. 23, 1788, reprinted in FRIENDS
   21    OF THE CONSTITUTION: WRITINGS OF THE “OTHER” FEDERALISTS 82 (Colleen A.
         Sheehan & Gary L. McDowell eds., 1998).
   22           78
                   CORNELL, THE POLICE POWER, supra note 36.
                79
   23              Act of Mar. 1, 1783, ch. XIII, 1783 Mass. Acts 37, An Act in Addition to
         the Several Acts Already Made for the Prudent Storage of Gun Powder within the
   24    Town of Boston, § 2.
                80
                   An Act to Prevent the Storing of Gun Powder, within in Certain Parts of
   25    New York City, LAWS OF THE STATE OF NEW-YORK, COMPRISING THE
         CONSTITUTION, AND THE ACTS OF THE LEGISLATURE, SINCE THE REVOLUTION,
   26    FROM THE FIRST TO THE FIFTEENTH SESSION, INCLUSIVE 191-2 (Thomas Greenleaf,
         ed., 1792).
   27           81
                   25 U.S. (12 Wheat.) 419, 442-43 (1827) (“The power to direct the removal
   28    of gunpowder is a branch of the police power”).
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    1    time and gun powder regulations necessarily affected the ability of gun owners to
    2    use firearms for self-defense, even inside the home.
    3          43.    A slow process of judicializing this concept of police, transforming the
    4    Founding era’s idea of a “police right” into a judicially enforceable concept of the
    5    “police power” occurred beginning with the Marshall Court and continuing with the
    6    Taney Court.82
    7          44.    Nor was Chief Justice John Marshall unique in highlighting the
    8    centrality of this idea to American law.83 The ubiquity of the police power
    9    framework for evaluating the constitutionality of legislation regarding firearms
   10    reflected the centrality of this approach to nearly every question of municipal
   11    legislation touching health or public safety in early America.84 Massachusetts
   12    Judge Lemuel Shaw, one of the most celebrated state jurists of the pre-Civil War era
   13    elaborated this point in his influential 1851 opinion in Commonwealth v. Alger, a
   14    decision that became a foundational text for lawyers, judges, and legislators looking
   15    for guidance on the meaning and scope of the police power. Shaw described the
   16    police power in the following manner:
   17
   18          82
                    Eras of Supreme Court history are typically defined by the tenure of the
   19    Chief Justice. The Marshall Court Period covered the years 1801-1835. For a brief
         overview, see “The Marshall Court, 1801-1835”, SUPREME COURT HISTORICAL
   20    SOCIETY (last visited Oct. 5, 2022), https://supremecourthistory.org/history-of-the-
         court-history-of-the-courts/history-of-the-court-history-of-the-courts-the-marshall-
   21    court-1801-1835/. The Taney Court period covered the years 1836-1864. See “The
         Taney Court, 1836-1864”, SUPREME COURT HISTORICAL SOCIETY (last visited Oct.
   22    5, 2022), https://supremecourthistory.org/history-of-the-court-history-of-the-
         courts/history-of-the-courts-history-of-the-courts-the-taney-court-1836-1864/.
   23            83
                    In the extensive notes he added as editor of the 12th edition of James Kent’s
         classic Commentaries an American Law, Oliver Wendell Holmes, Jr., wrote that
   24    regulation of firearms was the locus classicus of the police power. See 2 JAMES
         KENT COMMENTARIES ON AMERICAN LAW (340) 464 n.2 (Oliver Wendell Holmes,
   25    Jr., ed. 12 ed. 1873).
                 84
   26               FREUND, supra note 72, at 2, n.2 (1904). WILLIAM J. NOVAK, THE PEOPLE’S
         WELFARE: LAW AND REGULATION IN NINETEENTH-CENTURY AMERICA (1996) at 65-
   27    66; Christopher Tomlins, To Improve the State and Condition of Man: The Power
         to Police and the History of American Governance, 53 BUFF. L. REV. 1215 (2005);
   28    DUBBER, supra note 12, at 82-87.
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    1          [T]he power vested in the legislature by the constitution, to make,
               ordain and establish all manner of wholesome and reasonable laws,
    2          statutes and ordinances, either with penalties or without, not
    3          repugnant to the constitution, as they shall judge to be for the good
               and welfare of the commonwealth, and of the subjects of the same.
    4          It is much easier to perceive and realize the existence and sources
               of this power, than to mark its boundaries, or prescribe limits to its
    5          exercise. There are many cases in which such a power is exercised
               by all well-ordered governments, and where its fitness is so
    6          obvious, that all well regulated minds will regard it as reasonable.
    7          Such are the laws to prohibit the use of warehouses for the storage
               of gunpowder.85
    8
    9          45.    In short, there was unanimous agreement among leading antebellum

   10    jurists, at both the federal and state level, that the regulation of arms and gun

   11    powder was at the core of the police power enjoyed by legislatures. Indeed, the

   12    scope of government power to regulate, prohibit, and inspect gunpowder has been

   13    among the most far reaching of any exercise of the police power throughout

   14    American history.86 A Maine law enacted in 1821 authorized town officials to enter

   15    any building in town to search for gun powder:

   16          Be it further enacted, That it shall, and may be lawful for any one
               or more of the selectmen of any town to enter any building, or
   17          other place, in such town, to search for gun powder, which they
   18          may have reason to suppose to be concealed or kept, contrary to
               the rules and regulations which shall be established in such town,
   19          according to the provisions of this Act, first having obtained a
               search warrant therefore according to law.87
   20
   21          46.    No jurisdiction enumerated the full contours of the police power they
   22    possessed in a single text or in a single statute or ordinance. Rather, it was well
   23    understood that the exercise of this power would need to adapt to changing
   24
               85
   25             Commonwealth v. Alger, 61 Mass. (7 Cush.) 53 (1851). For another good
         discussion of how state jurisprudence treated the concept, see Thorpe v. Rutland, 27
   26    Vt. 140, 149 (1855).
               86
                  CORNELL, THE POLICE POWER, supra note 36.
   27          87
                  1821 Me. Laws 98, An Act for the Prevention of Damage by Fire, and the
   28    Safe Keeping of Gun Powder, chap. 25, § 5.
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    1    circumstances and new challenges as they emerged. This conception of law was
    2    familiar to most early American lawyers and judges who had been schooled in
    3    common law modes of thinking and analysis.88 Throughout the long sweep of
    4    Anglo-American legal history, government applications of the police power were
    5    marked by flexibility, allowing local communities to adapt to changing
    6    circumstances and craft appropriate legislation to deal with the shifting challenges
    7    they faced.89 This vision of the police power was articulated forcefully by the
    8    Supreme Court in the License Cases when Justice McClean wrote this about the
    9    scope of state police power:
   10          It is not susceptible of an exact limitation, but must be exercised
   11          under the changing exigencies of society. In the progress of
               population, of wealth, and of civilization, new and vicious
   12          indulgences spring up, which require restraints that can only be
               imposed by new legislative power. When this power shall be
   13          exerted, how far it shall be carried, and where it shall cease, must
               mainly depend upon the evil to be remedied.90
   14
   15          47.    One of the most important early American gun-related cases discussed
   16    in Heller, State v. Reid, offers an excellent illustration of the way police power
   17    jurisprudence was used by antebellum judges to adjudicate claims about gun rights
   18    and the right of the people to regulate.91 The case is a classic example of
   19    antebellum police power jurisprudence. The Supreme Court of Alabama evaluated
   20    the statute by focusing on the scope of state police power authority over guns. “The
   21    terms in which this provision is phrased,” the court noted, “leave with the
   22    Legislature the authority to adopt such regulations of police, as may be dictated by
   23
   24
               88
                  KUNAL M. PARKER, COMMON LAW HISTORY, AND DEMOCRACY IN
   25    AMERICA, 1790-1900: LEGAL THOUGHT BEFORE MODERNISM 147-148 (2013).
               89
   26             William J. Novak, A State of Legislatures, 40 POLITY 340 (2008).
               90
                  License Cases (Thurlow v. Massachusetts; Fletcher v. Rhode Island; Peirce
   27    v. New Hampshire), 5 How. (46 U.S.) 504, 592 (1847).
               91
   28             See State v. Reid, 1 Ala. 612, 612 (1840).
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    1    the safety of the people and the advancement of public morals.”92 In the court’s
    2    view, the regulation of arms was at the very core of state police power. 93 The
    3    judicial determination was straight forward: was the challenged law a legitimate
    4    exercise of the police power or not?
    5    V.   RECONSTRUCTION AND THE EXPANSION OF STATE POLICE POWER TO
    6         REGULATE FIREARMS (1863-1877)
    7          48.    Founding-era constitutions treated the right of the people to regulate
    8    their internal police separately from the equally important right of the people to
    9    bear arms. These two rights were separate in the Founding era but were mutually
   10    reinforcing: both rights were exercised in a manner that furthered the goal of
   11    ordered liberty. Reconstruction-era constitutions adopted a new textual formulation
   12    of the connection between these two formerly distinct rights, fusing the two
   13    together as one single constitutional principle. This change reflected two profound
   14    transformations in American politics and law between 1776 and 1868. First, the
   15    judicial concept of police power gradually usurped the older notion of a police right
   16    grounded in the idea of popular sovereignty. As a result, state constitutions no
   17    longer included positive affirmations of a police right. Secondly, the constitutional
   18    “mischief to be remedied” had changed as well.94 Constitution writers in the era of
   19
               92
                   Id. at 616.
   20          93
                   Apart from rare outlier decisions, such as Bliss v. Commonwealth, 12 Ky.
   21    (2 Litt.) 90, 92 (1822) courts employed a police power framework to adjudicate
         claims about the scope of state power to regulate arms. For a useful discussion of
   22    Bliss in terms of the police power, see FREUND, supra note 72, at 91.
                94
                   The mischief rule was first advanced in Heydon’s Case, (1584) 76 Eng.
   23    Rep. 637 (KB) — the legal principle that the meaning of a legal text was shaped by
         an understanding of the state of the common law prior to its enactment and the
   24    mischief that the common law had failed to address and that new legislation had
         intended to remedy — continued to shape Anglo-American views of statutory
   25    construction, and legal interpretation more generally, well into the nineteenth
         century. For Blackstone’s articulation of the rule, see 1 BLACKSTONE, supra note 8,
   26    at *61. The relevance of common law modes of statutory construction to
         interpreting antebellum law, including the mischief rule, is clearly articulated in 1
   27    ZEPHANIAH SWIFT, A DIGEST OF THE LAWS OF THE STATE OF CONNECTICUT 11 (New
         Haven, S. Converse 1822). For a modern scholarly discussion of the rule, see
   28    Samuel L. Bray, The Mischief Rule, 109 GEO. L.J. 967, 970 (2021).
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    1    the American Revolution feared powerful standing armies and sought to entrench
    2    civilian control of the military. By contrast, constitution writers in the era of the
    3    Fourteenth Amendment were no longer haunted by the specter of tyrannical Stuart
    4    Kings using their standing army to oppress American colonists. In place of these
    5    ancient fears, a new apprehension stalked Americans: the proliferation of
    6    especially dangerous weapons and the societal harms they caused.95
    7          49.    The new language state constitutions employed to describe the right to
    8    bear arms enacted during Reconstruction responded to these changed circumstances
    9    by adopting a new formulation of the venerable right codified in 1776, linking the
   10    right to bear arms inextricably with the states broad police power to regulate
   11    conduct to promote health and public safety.96 For example, the 1868 Texas
   12    Constitution included new language that underscored the indissoluble connection
   13    that Anglo-American law had long recognized between the right to keep and bear
   14    arms and regulation of guns. “Every person shall have the right to keep and bear
   15    arms, in the lawful defence of himself or the government, under such regulations as
   16    the Legislature may prescribe.”97 Nor was Texas an outlier in this regard. Sixteen
   17    state constitutions adopted during this period employed similarly expansive
   18    language.98 Millions of Americans living in the newly organized western states and
   19    newly reconstructed states of the former confederacy adopted constitutional
   20    provisions that reflected this new formulation of the right to bear arms. Thus,
   21
   22          95
                   See McDonald, 561 U.S. at 767–68
               96
   23              Saul Cornell, The Right to Regulate Arms in the Era of the Fourteenth
         Amendment: The Emergence of Good Cause Permit Schemes in Post-Civil War
   24    America, 55 U.C. DAVIS L. REV. 65 (2022).
                97
                   TEX. CONST. OF 1868, Art. I, § 13; for similarly expansive constitutional
   25    provision enacted after the Civil War, see IDAHO CONST. OF 1889, art. I, § 11 (“The
         people have the right to bear arms for their security and defense; but the legislature
   26    shall regulate the exercise of this right by law.”); UTAH CONST OF 1896, art. I, § 6
         (“[T]he people have the right to bear arms for their security and defense, but the
   27    legislature may regulate the exercise of this right by law.”).
                98
   28              Cornell, supra note 96, at 75–76.
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    1    millions of Americans were living under constitutional regimes that acknowledged
    2    that the individual states’ police power authority over firearms was at its apogee
    3    when regulating guns.99
    4          50.    This expansion of regulation was entirely consistent with the
    5    Fourteenth Amendment’s emphasis on the protection of rights and the need to
    6    regulate conduct that threatened the hard-won freedoms of recently free people of
    7    the South and their Republican allies. The goals of Reconstruction were therefore
    8    intimately tied to the passage and enforcement of racially neutral gun regulations.100
    9          51.    Reconstruction ushered in profound changes in American law, but it
   10    did not fundamentally alter the antebellum legal view that a states’ police powers
   11    were rooted in the people’s right to make laws to protect the peace and promote
   12    public safety. Nor did Reconstruction challenge the notion that these powers were
   13    at their zenith when dealing with guns and gun powder. In fact, the Republicans
   14    who wrote the Fourteenth Amendment were among the most ardent champions of
   15    an expansive view of state police power. As heirs to the antebellum Whig vision of
   16    a well-regulated society, Reconstruction-era Republicans used government power
   17    aggressively to protect the rights of recently freed slaves and promote their vision
   18    of ordered liberty.101
   19          52.    Indeed, the passage of the Fourteenth Amendment was premised on the
   20    notion that the individual states would not cede their police power authority to the
   21    federal government. The author of Section One of the Fourteenth Amendment,
   22    John Bingham, reassured voters that the states would continue to bear the primary
   23
               99
   24             Id.
               100
                   Brennan Gardner Rivas, Enforcement of Public Carry Restrictions: Texas
   25    as a Case Study, 55 U.C. DAVIS L. REV. 2603 (2022).
               101
   26              Robert J. Kaczorowski, Congress’s Power to Enforce Fourteenth
         Amendment Rights: Lessons from Federal Remedies the Framers Enacted, 42
   27    HARV. J. ON LEGIS. 187, 205 (2005); Christopher Tomlins, To Improve the State and
         Condition of Man: The Power to Police and the History of American Governance
   28    53 BUFFALO L. REV. 1215 (2005-2006).
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    1    responsibility for “local administration and personal security.”102 As long as state
    2    and local laws were racially neutral and favored no person over any other, the
    3    people themselves, acting through their representatives, were free to enact
    4    reasonable measures necessary to promote public safety and further the common
    5    good. 103
    6          53.    It would be difficult to understate the impact of this new paradigm for
    7    gun regulation on post-Civil War legislation. Across the nation legislatures took
    8    advantage of the new formulation of the right to bear arms included in state
    9    constitutions and enacted a staggering range of new laws to regulate arms. Indeed,
   10    the number of laws enacted skyrocketed, increasing by over four hundred percent
   11    from antebellum levels.104 Not only did the number of laws increase, but the
   12    number of states and localities passing such laws also expanded.105
   13          54.    Henry Campbell Black, the author of Black’s Law Dictionary,
   14    described the police power as “inalienable” and echoed the view of a long line of
   15    jurists who noted that the scope of the power was not easily defined and the
   16    determination of its limits was best left to courts on a case-by-case basis.106 Indeed,
   17    even the most ardent critics of the police power, such as conservative legal scholar
   18    Christopher G. Tiedeman, acknowledged that “police power of the State extends to
   19
   20
   21
               102
   22              John Bingham, Speech, CINCINNATI DAILY GAZETTE (Sept. 2, 1867), as
         quoted in Saul Cornell and Justin Florence, The Right to Bear Arms in the Era of
   23    the Fourteenth Amendment: Gun Rights or Gun Regulation, 50 SANTA CLARA L.
         REV. 1043, 1058 (2010).
   24          103
                   For a discussion of how the courts wrestled with the meaning of the
         Amendment, see WILLIAM E. NELSON, THE FOURTEENTH AMENDMENT: FROM
   25    POLITICAL PRINCIPLE TO JUDICIAL DOCTRINE 173-4 (1998).
               104
   26              See Spitzer, supra note 40, at 59–61 tbl. 1.
               105
                   Id.
   27          106
                   HENRY CAMPBELL BLACK, HANDBOOK OF CONSTITUTIONAL LAW, 334–344
   28    (2d ed., 1897).
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    1    the protection of the lives, limbs, health, comfort and quiet of all persons, and the
    2    protection of all property within the State.”107
    3          55.    In keeping with the larger goals of Reconstruction, Republicans sought
    4    to protect the rights of African Americans to bear arms but were equally insistent on
    5    enacting strong racially neutral regulations aimed at public safety. Violence
    6    directed against African Americans, particularly the campaign of terror orchestrated
    7    by white supremacist para-military groups prompted Republican dominated
    8    legislatures in the Reconstruction South to pass a range of racially neutral gun
    9    regulations.108 The racially neutral gun laws enacted by Republicans were in part a
   10    reaction to the discriminatory black codes passed by neo-confederate legislatures
   11    earlier in Reconstruction. The Black Codes violated the Second Amendment, but
   12    the wave of firearms legislation passed by Republican controlled state legislatures
   13    in the South were consciously crafted to honor the Second Amendment and protect
   14    individuals from gun violence.109
   15          56.    The laws enacted during Reconstruction underscore the fact that robust
   16    regulation of firearms during Reconstruction was not a novel application of the
   17    police power, but an expansion and continuation of antebellum practices.
   18    Moreover, these efforts illustrated a point beyond dispute: the flexibility inherent in
   19    police power regulations of guns. American states had regulated arms since the
   20
   21
               107
                    CHRISTOPHER G. TIEDEMAN, A TREATISE ON THE LIMITATIONS OF THE
   22    POLICE POWER IN THE UNITED STATES 4–5 (1886) (citing Thorpe v. Rutland R.R., 27
         Vt. 140, 149-50 (1854)).
   23           108
                    Mark Anthony Frassetto, The Law and Politics of Firearms Regulation in
   24    Reconstruction Texas, 4 TEX. A&M L. REV. 95, 113–17 (2016); Brennan G. Rivas,
         An Unequal Right to Bear Arms: State Weapons Laws and White Supremacy in
   25    Texas, 1836-1900, 121 SOUTHWESTERN QUARTERLY 284 (2020).
                109
                    See Darrell A. H. Miller, Peruta, The Home-Bound Second Amendment,
   26    and Fractal Originalism, 127 HARV. L. REV. 238, 241 (2014); see also Robert J.
         Kaczorowski, Congress’s Power to Enforce Fourteenth Amendment Rights: Lessons
   27    from Federal Remedies the Framers Enacted, 42 HARV. J. ON LEGIS. 187, 205
         (2005) (discussing Republican use of federal power to further their aims, including
   28    to enforce the Fourteenth Amendment).
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    1    dawn of the republic and Reconstruction simply renewed America’s commitment to
    2    the idea of well-regulated liberty.
    3    VI. LARGE-CAPACITY MAGAZINESS, THE POLICE POWER, AND THE LATEST
    4        FACE OF TERROR
    5          57.    Another major inflection point in the history of firearms regulation
    6    emerged in the context of the debate on assault weapons and large-capacity
    7    magazines, which were closely connected to the rise of mass shootings in the last
    8    decades of the twentieth century.110 California began restricting large-capacity
    9    magazines in 2000.111 Proposals to ban large-capacity magazines are part of a
   10    larger national movement to deal with the carnage caused by high capacity, high
   11    velocity weapons. The effort to ban such weapons and accessories parallels earlier
   12    efforts to deal with machine guns and semi-automatic weapons during the 1920s.112
   13          58.    Legislative efforts to ban these weapons fit squarely within the long
   14    Anglo-American tradition of limiting public access to weapons capable of
   15    provoking terror. During America’s first gun violence crisis in the Jacksonian era,
   16    states targeted pistols that were easily concealed, and in the New Deal era, states
   17    singled out gangster weapons such as the notorious Thompson sub-machine gun (or
   18    “Tommy Gun”), treating these weapons as sufficiently dangerous or unusual to
   19    warrant extensive regulation, or prohibition. The same imperatives and
   20    constitutional logic guided both regulatory regimes.113
   21          59.    The history of the AR-15 illustrates that the earlier dynamic governing
   22    firearms regulation established in the nineteenth-century continues to shape
   23
               110
   24              Allen Rostron, Style, Substance, and the Right to Keep and Bear Assault
         Weapons, 40 CAMPBELL L. REV. 301 (2018); Jaclyn Schildkraut et.al., Mass
   25    Shootings, Legislative Responses, and Public Policy: An Endless Cycle of Inaction,
         68 EMORY L.J. 1043 (2020).
   26          111
                   1999 Cal. Stat. 1781, §§ 3, 3.5 (S.B. 23) (now codified at Cal. Penal Code
         § 32310(a)).
   27          112
                   Spitzer, supra note 40.
               113
   28              Id.
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    1    American public policy and law. Regulation of firearms follows a well-worn path.
    2    Technological innovation is only part of this equation. In addition, weapons must
    3    also achieve sufficient market penetration to create a potential for criminal abuse.
    4    At this point legislatures attempt to find a means to address the problem posed by
    5    these weapons without trenching on constitutionally protected liberties.114
    6          60.    Understanding the marketing strategies tying these weapons to the
    7    military makes clear that efforts to regulate these weapons by using these same
    8    features is hardly cosmetic. Moreover, focusing exclusively on technology and
    9    ignoring the social history of these weapons, their popularity and potential for
   10    abuse, misses an important point about the history of firearms technology and
   11    government regulation. The history and tradition of arms regulation has always
   12    recognized that weapons that had the ability to inspire terrorem populi is a
   13    legitimate justification for regulation. The perpetrator of the Sandy Hook
   14    Elementary Mass Shooting used a Bushmaster AR-15-type weapon that was
   15    marketed with a slogan that traded on hyper-aggressive forms of toxic masculinity:
   16    “Consider Your Man Card Reissued.”115
   17          61.     There is little disputing the fact that, despite protestations by gun
   18    rights advocates and industry executives that these weapons are merely “sporting
   19    rifles,” the marketing campaigns used to sell these tells a different story. The
   20    success of these weapons commercially was inextricably linked to marketing
   21    strategies that tied these weapons to their origins in the military. These sales
   22    strategies deliberately evoked images of military assault capabilities.116 The
   23          114
                    Id.
   24          115
                    ALEXANDER DECONDE, GUN VIOLENCE IN AMERICA 128-135 (Boston:
         Northeastern Univ. Press 2001); Cornell and DeDino, supra note 39.
   25           116
                     Mark Berman & Todd C. Frankel, Companies made more than $1B
   26    selling powerful guns to civilians, report says House oversight committee accused
         gun manufacturers of “manipulative marketing campaigns” and profiting off
   27    violence, WASHINGTON POST (July 27, 2022, 7:19 PM),
         https://www.washingtonpost.com/national-security/2022/07/27/companies-made-
   28    more-than-1b-selling-powerful-guns-civilians-report-says/.
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    1    advertisement from two popular arms manufacturers pictured below are illustrative
    2    of these campaigns.117 Ruger explicitly employs the term “Tactical Rifle” and Sig
    3    Sauer’s choice of imagery unambiguously links its weapons to images of military
    4    close quarter combat.
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   22          62.   In the case of large-capacity magazines, the example of the Newtown
   23    massacre is instructive. Bushmaster developed an advertising campaign that
   24    included product placement in violent video games targeting young men. The
   25
               117
   26              CAROLYN MALONEY, SUPPLEMENTAL MEMORANDUM: THE COMMITTEE’S
         INVESTIGATION INTO GUN INDUSTRY PRACTICES AND PROFITS (JUL. 27, 2022),
   27    https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2022.07.27%
         20Supplemental%20MEMO%20for%20the%207-27-
   28    2022%20FC%20Gun%20Manufacturer%20Hearing.pdf.
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    1    image below shows a used magazine retrieved from the floor of Sandy Hook
    2    Elementary School and a similar magazine from a popular violent video game.118
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   13          63.    Bruen did not address these technology-focused arguments. The New
   14    York law in question singled out handguns, not large-capacity magazines. From
   15    the perspective of text, history, and tradition, the key legal fact is that that these
   16    weapons are perceived by important segments of the public as weapons capable of
   17    provoking a terror.119 Firearms manufacturers created a type of weapon that could
   18    receive high capacity magazines and marketed their products with a clear
   19    demographic in mind, stressing characteristics and cultural associations that tied
   20    them to war and then used these associations to effectively market them. The fact
   21
               118
                   Rick Rojas, Karen Zraick and Troy Closson, Sandy Hook Families Settle
   22    with Gunmaker for 73 Million Dollars, NEW YORK TIMES, published Feb. 15,
         2022, updated Feb. 17, 2022,
   23    https://www.nytimes.com/2022/02/15/nyregion/sandy-hook-families-
         settlement.html.
   24
               119
                   Mass shootings have been rendered more deadly by the proliferation of
   25    assault weapons, see John Donahue III & Theodora Boulouta, The Assault Weapon
         Ban Saved Lives, STANFORD LAW SCHOOL BLOGS (Oct. 15, 2019),
   26    https://law.stanford.edu/2019/10/15/the-assault-weapon-ban-saved-lives/. For the
         most recent assessment of the impact of assault weapons on the American gun
   27    violence problem, see Christopher S. Koper et. al., Criminal Use of Assault
         Weapons and High-Capacity Semiautomatic Firearms: An Updated Examination of
   28    Local and National Sources, 95 J. URB. HEALTH 313 (2018).
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    1    that a successful marketing strategy earned gun companies significant profits is a
    2    fact that contradicts the claims of gun rights advocates these magazines are no
    3    different than other magazines available to consumers. If that were true, then gun
    4    companies would have abandoned these marketing strategies long ago and replaced
    5    them with something more effective. It would be illogical and run counter to the
    6    most basic principles of Anglo-American law to argue that people themselves are
    7    powerless to regulate these magazines to mitigate the threats they pose to peace and
    8    public safety. The appeal of these magazines and their contribution to gun violence
    9    are two sides of the same coin.120 A government’s ability to address the negative
   10    effects of these weapons is well within the scope of its police powers, as historically
   11    understood.
   12    VII. BRUEN’S FRAMEWORK AND MODERN LARGE-CAPACITY MAGAZINES
   13          64.     The power to regulate and in some cases prohibit dangerous or unusual
   14    weapons has always been central to the police power authority of states and
   15    localities. At different moments in American history communities have deemed
   16    categories of weapons to be especially dangerous and have regulated them, and
   17    when it appeared necessary enacted bans on some types of weapons. Such
   18    determinations were not made based on technological features in isolation but
   19    reflected the ancient common law tradition of singling out weapons capable of
   20    producing a terror. Such weapons undermined the peace and the constitutional
   21    imperative embedded in the text of the Second Amendment to protect the security
   22    of a free state. Defining exactly which category of weapons have fallen outside of
   23          120
                   Polly Mosendz, Why Gunmakers Would Rather Sell AR-15s Than
   24    Handguns, BLOOMBERG (June 20, 2018, 3:00 AM),
         https://www.bloomberg.com/news/articles/2018-06-20/why-gunmakers-would-
   25    rather-sell-ar-15s-than-handguns; John J. Donohue, The Swerve to “Guns
         Everywhere”: A Legal and Empirical Evaluation, 83 Law & Contemp. Problems
   26    117 (2020); Christopher S. Koper, Assessing The Potential to Reduce Deaths And
         Injuries From Mass Shootings Through Restrictions on Assault Weapon and Other
   27    High-Capacity Semiautomatic 19 Firearms, CRIMINOLOGY & PUBLIC POLICY 147
         (2020); Mark Gius, The Impact of State and Federal Assault Weapons Bans on
   28    Public Mass Shootings, 22 APPLIED ECON. LETTERS 281 (2014).
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    1    the scope of constitutional protection has shifted over time as society has addressed
    2    new developments in firearms technology, evolving societal norms, and other
    3    changes. In short, social, and economic transformation were always accompanied
    4    by legal transformation. Put another way, as times change, the law changes with
    5    them.
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    1
    2         Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury under the laws
    3    of the United States of America that the foregoing is true and correct.
    4          Executed on November 10, 2022, at Redding, Connecticut.
    5
    6
    7                                                     Saul Cornell
                                                        Saul Cornell
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 1989-1991          Assistant Professor, History               College of William and Mary

                                     Fellowships and Grants
      2019-2020 The Gilder Lehrman Center for the Study of Slavery, Resistance, and Abolition, Yale
       University
      2018-2019 Senior Research Scholar in Residence, Floersheimer Center for Constitutional
       Democracy, Cardozo Law School
      2014 Senior Research Scholar in Residence, University of Connecticut Law School
      2011 Senior Research Scholar in Residence, Yale Law School
      2003-2008 Joyce Foundation, Second Amendment Center Grant, $575,000
      2003-2004 NEH Fellowship
      2002-2005 Department of Education, Teaching American History Grant, Historyworks,
       $2,000,000
      2002 Gilder-Lehrman Fellowship
      2001-2002 Joyce Foundation Planning Grant, $40,000
      2001 American Council of Learned Societies (ACLS)
      1999-2000 Betha Grant, Batelle Memorial Endowment, Ohio Teaching Institute, $100,000
      1998 Thomas Jefferson Memorial Foundation, Research Fellowship
      1995 Thomas Jefferson Chair in American Studies, Fulbright Lecturing Award
      1994 Ohio State University Seed Grant
      1993 Ohio State University Special Research Assignment
      1992 Ohio State University Grant-In-Aid
      1989-1991 NEH Post-Doctoral Fellow, Institute of Early American History and Culture
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                                       Prizes and Awards
      2006 Langum Prize in Legal History 2006
      2006 History News Network, Book of the Month
      2006 History News Network, Top Young Historian
      2001 Society of the Cincinnati, History Book Prize, a Triennial Award for the Best Book on the
       American Revolutionary Era
      2000 Choice Outstanding Academic Book

                                        Book Publications

The Partisan Republic: Democracy, Exclusion, and the Fall of the Founders Constitution
New Histories of American Law, series eds., Michael Grossberg and Christopher Tomlins (Cambridge
 University Press, 2019) [With Gerald Leonard]
The Second Amendment On Trial: Critical Essays on District of Columbia v. Heller
(University of Massachusetts Press, 2013) [with Nathan Kozuskanich]
Visions of America: A History of the United States [co-authored with Jennifer Keene and Ed O’Donnell]
 (First edition, 2009),( second edition 2013) (third edition, 2016)
“A Well Regulated Militia”: The Founding Fathers and the Origins of Gun Control (Oxford University
 Press, 2006) (paperback edition 2008)
Whose Right to Bear Arms Did the Second Amendment Protect? (Bedford/St. Martins Press, 2000)
(Paperback 2000)
The Other Founders: Anti-Federalism and the Dissenting Tradition in America, 1788-1828 (Institute of
 Early American History and Culture, University of North Carolina Press, 1999) (paperback edition
 2001)
Editor, Retrieving the American Past: Documents and Essays on American History, (Pearson, 1994-
 2008)
                          Scholarly Articles, Book Chapters, and Essays:

“History and Tradition or Fantasy and Fiction: Which Version of the Past Will the Supreme
Court Choose in NYSRPA v. Bruen?,” 49 Hastings Constitutional Law Quarterly
(2022): 145-177.

“The Long Arc of Arms Regulation in Public: From Surety to Permitting,1328–1928,”
 55 University of California, Davis Law Review (2022): 2545-2602

“’Infants’ and Arms Bearing in the Era of the Second Amendment: Making Sense of the
 Historical Record,” 40 Yale Law & Policy Review Inter Alia 1 (2021)

“The Right to Regulate Arms in the Era of the Fourteenth Amendment: The Emergence of Good Cause
  Permit Schemes in Post-Civil War America” 55 University of California, Davis Law Review Online
  (2021): 65-90.


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 “President Madison's Living Constitution: Fixation, Liquidation, and Constitutional Politics in the
  Jeffersonian Era”, 89 Fordham Law Review (2021): 1761-1781.
“History, Text, Tradition, and the Future of Second Amendment Jurisprudence: Limits on Armed Travel
 Under Anglo-American Law, 1688–1868,” 83 Law and Contemporary Problems (2020): 73-95
“Reading the Constitution, 1787–91: History, Originalism, and Constitutional Meaning.” Law and
 History Review 37 (2019): 821–45
“Constitutional Mythology and the Future of Second Amendment Jurisprudence after Heller,” in
 Firearms and Freedom: The Second Amendment in the Twenty-First Century Controversies in
 American Constitutional Law Series (Routledge, 2017): 8-24
“The Right to Keep and Carry Arms in Anglo-American Law, Preserving Liberty and
Keeping the Peace,” 80 Law and Contemporary Problems (2017): 11-54
“Half Cocked’: The Persistence of Anachronism and Presentism in the Academic Debate over the
 Second Amendment,” 107 Northwestern Journal of Criminal Law 107 (2017): 203-218
“The 1790 Naturalization Act and the Original Meaning of the Natural Born Citizen Clause: A Short
  Primer on Historical Method and the Limits of Originalism,” Wisconsin Law Review Forward 92
  (2016)
“Constitutional Meaning and Semantic Instability: Federalists and Anti-Federalists on the Nature of
 Constitutional Language,” in special issue on “The Future of Legal History,” American Journal of
 Legal History 56 (2016): 21-29
“Firearm Regionalism and Public Carry: Placing Southern Antebellum Case Law in Context,” Yale Law
  Journal Forum 125(2015-16):121-135 [with Eric Ruben]
“Originalism As Thin Description: An Interdisciplinary Critique” Fordham Law Review Res Gestae 84
 (2015): 1-10
“The Right to Bear Arms,” The Oxford Handbook of the US Constitution, eds., Mark Tushnet, Sanford
  Levinson, and Mark Graber (2015): 739-759
“Conflict, Consensus & Constitutional Meaning: The Enduring Legacy of Charles Beard” Constitutional
 Commentary 29 (2014): 383-409
“Meaning and Understanding in the History of Constitutional Ideas: the Intellectual History Alternative
 to Originalism” Fordham Law Review 82 (2013): 721-755
“The Right to Carry Firearms Outside of the Home: Separating Historical Myths from Historical
  Realities” Fordham Urban Law Journal 39 (2012): 1695-1726
“Evidence, Explanation, and the Ghost of Charles Beard” William & Mary Quarterly 69 (2012): 393-4
“Idiocy, Illiteracy, and the Forgotten Voices of Popular Constitutionalism: Ratification and the Ideology
  of Originalism” William & Mary Quarterly 69 (2012): 365-368
“The People’s Constitution v. The Lawyer’s Constitution: Popular Constitutionalism and the Original
  Debate Over Originalism,” Yale Journal of Law and the Humanities 23 (2011): 295-337
“St. George Tucker's Lecture Notes, The Second Amendment, and Originalist Methodology: A Critical
  Comment,” Northwestern University Law Review 103 (2009): 406-416

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“Heller, New Originalism, and Law Office History: ‘Meet the New Boss, Same as the Old Boss’” UCLA
 Law Journal 56 (2009): 1095 -1125
“Originalism on Trial: The Use and Abuse of History in District of Columbia v. Heller” Ohio-State Law
 Journal 69 (2008): 625-640
“Consolidation of the Early Federal System,” Chapter 10 of the Cambridge History of A merican Law
 (Cambridge University Press, 2008) [With Gerry Leonard]
“The Ironic Second Amendment” Albany Government Law Review 2 (2008): 292-311.
“The Original Meaning of Original Understanding: A Neo-Blackstonian Critique,” Maryland Law
  Review (2008): 101-115
“Mobs, Militias, and Magistrates: Popular Constitutionalism During the Whiskey Rebellion,” Chicago-
 Kent Law Review (2007): 883-903
“The Second Amendment and Early American Gun Regulation: a Closer Look at the Evidence,” Law
  and History Review (2007): 197-204
“St. George Tucker and the Second Amendment: Original Understandings and Modern
  Misunderstandings,” William and Mary Law Review 47 (2006): 1123-55
“The Early American Origins of the Modern Gun Control Debate: The Right to Bear Arms, Firearms
  Regulation, the Lessons of History,” Stanford Law and Policy Review (2006): 571-596
“Well Regulated: The Early American Origins of Gun Control,” Fordham Law Review 73 (2004): 487-
 528 [With Nathan DeDino]
“Beyond the Myth of Consensus: The Struggle to Define the Right to Bear Arms in the Early Republic,”
 in Beyond the Founders: New Essays on the Political History of the Early Republic (UNC Press, 2005)
“A New Paradigm for the Second Amendment,” Law and History Review 22 (2004): 161-7
“Gun Laws and Policies: A Dialogue,” Focus on Law Studies: Teaching about Law in the Liberal Arts
 (American Bar Association, 2003)
“The Militia Movement,” Oxford Companion to American Law (Oxford University Press, 2002)
“Don’t Know Much About History: The Current Crisis in Second Amendment Scholarship,” Northern
 Kentucky Law Review (2003)
“A Right to Bear Quills or Kill Bears? A Critical Commentary on the Linkage between the 1st and 2nd
 Amendment in Recent Constitutional Theory,” in The Limits of Freedom in A Democratic Society
 (Kent State University Press, 2001)
“The Irony of Progressive Historiography: The Revival of Anti-Federalism in Contemporary
  Constitutional History,” in American Law Ways and Folkways (Odense University Press, Denmark
  2001)
“Commonplace or Anachronism: The Standard Model, The Second Amendment, and the Problem of
 History in Contemporary Constitutional Theory,” Constitutional Commentary (1999): 221-246
“Mere Parchment Barriers? Anti-Federalists, the Bill of Rights, and the Question of Rights
 Consciousness,” in Government Proscribed: The Bill of Rights (University of Virginia Press, 1998):
 175-208

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“Moving Beyond the Great Story: Post-Modern Prospects, Post-Modern Problems, A Forum on Robert
 Berkhofer, Jr. Beyond the Great Story” American Quarterly (1998): 349-357
“The Anti-Federalists,” in The Blackwell Companion to American Thought, eds., James Kloppenberg
  (London, 1995)
“The Bill of Rights,” in The Blackwell Companion to American Thought, eds., James Kloppenberg
  (London, 1995)
“Splitting the Difference: Textualism, Contexualism, and Post-Modern History,” American Studies
  (1995): 57-80
“Canon Wars II: The Return of the Founders,” Reviews in American History 22 (1994): 413-417
“Moving Beyond the Canon of Traditional Constitutional History: Anti-Federalists, the Bill of Rights and
 the Promise of Post-Modern Historiography,” Law and History Review (1994): 1-28
“Early American History in a Post-Modern Age,” William and Mary Quarterly 50 (1993): 329-341
“Liberal Republicans, Republican Liberals?: The Political Thought of the Founders Reconsidered,”
  Reviews in American History 21 (1993): 26-30
“Politics of the Middling Sort: The Bourgeois Radicalism of Abraham Yates, Melancton Smith, and the
  New York Anti-Federalists,” in New York in the Age of the Constitution (New York Historical
  Society, 1992): 151-175
“Aristocracy Assailed: Back-Country Opposition to the Constitution and the Problem of Anti-Federalist
 Ideology,” Journal of American History (1990): 1148-1172
“The Changing Historical Fortunes of the Anti-Federalists,” Northwestern University Law Review
  (1989): 39-73
“Reflections on the `Late Remarkable Revolution in Government,' Aedanus Burke and Samuel Bryan's
 Unpublished History of the Ratification of the Federal Constitution,” The Pennsylvania Magazine of
 History and Biography (1988): 103-130
                                            Book Reviews:
      Journal of American History
      William and Mary Quarterly
      American Studies Journal of the Early Republic
      Pennsylvania Magazine of History and Biography
      American Quarterly
      American Journal of Legal History
      Law and History Review
                                        Journal Manuscript Referee:
      Journal of American History
      William and Mary Quarterly
      Diplomatic History
      Pennsylvania Magazine of History and Biography
      Law and History Review
      Harvard Law Review

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      Stanford Law Review
      Yale Law Journal

                                        Book Manuscript Reviewer:
      University Press of Virginia
      University of North Carolina Press
      Stanford University Press
      University of Massachusetts Press
      Oxford University Press
      Cambridge University Press
      University of Michigan Press
      Harvard University Press

                                         Invited Lectures:
“Race, Regulation, and Guns: The Battleground in the Debate Over the Second Amendment,”
Haber/Edelman Lecture: University of Vermont, Fall 2021

“Second Amendment Myths and Realities,” University of Tampa, Honors College Symposium,
  November 30, 2018.
“The Common Law and Gun Regulation: Neglected Aspects of the Second Amendment Debate,” Guns
  in Law, Amherst College, Law Justice and Society (2016)
“The New Movement to End Gun Violence.” UCLA Hammer Museum (2016)
“No Person May Go Armed”: A Forgotten Chapter in the History of Gun Regulation” The Elizabeth
 Battelle Clark Legal History Series, Boston University College of Law, 2016
Legacy Speaker Series: “Guns in the United States,” University of Connecticut (2016) “How does the
 Second Amendment Apply to Today?”
American Constitution Society/ Federalist Society Debate, Tulane Law School, New Orleans (2016)
“The Second Amendment and The Future of Gun Regulation: Forgotten Lessons From U.S. History,”
  Constitution Day Lecture, Goucher College, (2015)
Keynote Lecture: “The Second Amendment and American Cultural Anxieties: From Standing Armies to
 the Zombie Apocalypse” Firearms and Freedom: The Relevance of the Second Amendment in the
 Twenty First Century, Eccles Center, British Library (Spring 2015)
“Narratives of Fear and Narratives of Freedom: A Short Cultural History of the Second Amendment,”
 Comparing Civil Gun Cultures: Do Emotions Make a Difference? Max Plank Institute, Berlin (2014)
“History and Mythology in the Second Amendment Debate,” Kollman Memorial Lecture, Cornell
 College, Iowa (Spring, 2013)
“Will the Real Founding Fathers Please Stand Up or Why are so few Historians Originalists”
 Constitution Day Lecture, Lehman College, Fall 2011
“Lawyers, Guns, and Historians: The Second Amendment Goes to Court,” SHEAR/HSP Public Lecture,
  Philadelphia, July, 2008
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The Robert H. and Alma J. Wade Endowment Lecture, Kentucky Wesleyan University, “The Early
 American Origins of Gun Control” (2006)
“Jefferson, Mason, and Beccaria: Three Visions of the Right to Bear Arms in the Founding Era,” Bill of
  Rights Lecture, Gunston Hall Plantation, Fairfax, VA (2003)
“A New Paradigm for the Second Amendment,” Finlay Memorial Lecture, George Mason University,
 (2001)
“Academic Gunsmoke: The Use and Abuse of History in the Second Amendment Debate,” Cadenhead
 Memorial Lecture, University of Tulsa, (2000)
“Why the Losers Won: The Rediscovery of Anti-Federalism in the Reagan Years,” Thomas Jefferson
 Inaugural Lecture, University of Leiden, Netherlands, (1995)

                                           Presentations:

“From Ideology to Empiricism: Second Amendment Scholarship After Heller, “ Hastings Constitutional
  Law Quarterly Symposium, Heller at Ten, January 18, 2019
“Firearms and the Common Law Tradition,” Aspen Institute, Washington, DC (2016)
“The Original Debate over Original Meaning Revisited, ” British Group in EarlyAmerican History,
  Annual Meeting, Cambridge, England (2016)
“Second Amendment Historicism and Philosophy” The Second Generation of Second Amendment
  Scholarship” Brennan Center, NYU 2016
“The Reception of the Statute of Northampton in Early America: Regionalism and the Evolution of
  Common Law Constitutionalism” OIEAHC and the USC/Huntington Library Early Modern Studies
  Institute May 29–30, 2015
“The Right to Travel Armed in Early America: From English Restrictions to Southern Rights,” British
  Group in Early American History, Annual Conference Edinburgh, Scotland (2014)
“Progressives, Originalists, and Pragmatists: The New Constitutional Historicism and the Enduring
  Legacy of Charles Beard,” Charles Beard, Economic Interpretation and History, Rothmere Center,
  Oxford University (2012)
CUNY Early American Seminar, “The People’s Constitution v. the Lawyer’s Constitution,” 2011
Roundtable : “The Work of J.R. Pole,” SHEAR , Philadelphia, Pennsylvania 2011)
“The Right to Bear Arms in the Era of the Fourteenth Amendment: Gun Rights or Gun Regulation?”
  Bearing Arms, Policy, Policing, and Incorporation After Heller, Santa Clara Law School (2010)
“Re-envisioning Early American History,” American Historical Association Annual Meeting, San Diego
  (2010)
“The Ironic Second Amendment” Firearms, the Militia, and Safe Cities: Merging History, Constitutional
  Law and Public Policy, Albany Law School ( 2007)
“District of Columbia v. Heller and the Problem of Originalism,” University of Pennsylvania
  Constitutional Law Workshop, Philadelphia ( 2007)


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“Progressives and the Gun Control Debate,” American Constitution Society, Harvard Law School,
  (2006)
“The Problem of Popular Constitutionalism in Early American Constitutional Theory,” American
  Association of Law Schools, Annual Conference (2006)
“Popular Constitutionalism and the Whiskey Rebellion,” Symposium on Larry Kramer’s The People
  Themselves, Chicago-Kent Law School (2005)
Roundtable Discussion on the Second Amendment and Gun Regulation, NRA/ GMU Student’s For the
  Second Amendment Symposium (2005)
“The Early American Origins of the Modern Gun Control Debate: The Right to Bear Arms, Firearms
  Regulation, and the Lessons of History,” Gun Control: Old Problems, New Problems, Joint
  Conference Sponsored by the John Glenn Institute and Stanford Law School (2005)
“Original Rules for Originalists?” University of Minnesota Law School (2005)
“The Fourteenth Amendment and the Origins of the Modern Gun Debate,” UCLA, Legal History
  Workshop (2004)
“Beyond Consensus, Beyond Embarrassment: The Use and Abuse of History in the Second Amendment
  Debate,” American Society of Legal History, Austin, TX (2004)
“Armed in the Holy Cause of Liberty: Guns and the American Constitution,” NYU Legal History
  Colloquium (2004)
“Digital Searches and Early American History,” SHEAR Brown University (2004)
“Well Regulated: The Early American Origins of Gun Control,” The Second Amendment and the Future
  of Gun Regulation,” Joint Conference Sponsored by the John Glenn Institute and Fordham Law
  School, New York (2004)
“Minuteman, Mobs, and Murder: Forgotten Contexts of the Second Amendment,” Department of
  History, University of California Berkeley (2003)
“History vs. Originalism in the Second Amendment Debate,” Federalist Society/ American Constitution
  Society, George Washington University Law School, Washington D.C. (2003)
“Self-defense, Public Defense, and the Politics of Honor in the Early Republic,” Lake Champlain Early
  American Seminar, Montreal (2003)
“The Ironic Second Amendment” "Gun Control: Controversy, Social Values, and Policy,” University of
  Delaware Legal Studies Conference, Newark, Delaware (2003)
“Individuals, Militias, and the Right to Bear Arms: The Antebellum Debate Over Guns,” Institute for
   Legal Studies, University of Wisconsin School of Law (2004)
“Guns in the British Atlantic World: New Research, New Directions” Society for the Historians of the
  Early American Republic, Ohio State University (2003)
“Neither Individual nor Collective: A New Paradigm for the Second Amendment,” American Bar
  Foundation, Chicago (2003)
“The Changing Meaning of the Armed Citizen in American History,” “Americanism Conference,”
  Georgetown University (2003)

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“A New Paradigm for the Second Amendment?” Supreme Court Historical Society, Washington, D.C.
  (2002)
“Constitutional History as Cultural History: The Case of the Second Amendment” European American
  Studies Association, Bordeaux, France (2002)
“Don’t Know Much About History: The Current Crises in Second Amendment Scholarship,” Salmon P.
  Chase College of Law, Symposium, “The Second Amendment Today,” (2002)
“History, Public Policy, and the Cyber-Age: Gun Control Policy after the Emerson Decision,” Sanford
  Institute of Public Policy, Duke University (2002)
“Constitutional History After the New Cultural History: The Curious Case of the Second Amendment,”
  Society of the Historians of the Early American Republic, Baltimore (2001)
Roundtable Discussion, “The State of Second Amendment Scholarship,” American Historical
  Association (2001)
“Armed in the Holy Cause of Liberty: Critical Reflections on the Second Amendment Debate,”
  Vanderbilt University Law School (2001)
“Neither Individual nor Collective: A New Paradigm for the Second Amendment,” Boston University
  Law School, (2000)
“The Current State of Second Amendment Scholarship,” National Press Club Washington, D.C.
  American Bar Association, (2000)
“Taking the Hype out of Hyper-Text, Or What Should Textbook Companies Being Doing for us on the
  Web,” OAH St. Louis, Missouri (1999)
“The Ironies of Progressive Historiography: The Revival of Anti-Federalism in Contemporary
  Constitutional Theory,” European American Studies Association, Lisbon, Portugal (1998)
“Deconstructing the Canon of American Constitutional History” American Society of Legal History,
  Seattle, Washington (1998)
“Beyond Meta-narrative: The Promise of Hypertext,” American Studies Association, Seattle,
  Washington (1998)
“Text, Context, Hypertext,” American Historical Association, Washington D.C. (1998)
“Jefferson and Enlightenment,” International Center for Jefferson Studies, Charlottesville, VA, (1998)
“Copley’s Watson and the Shark: Interpreting Visual Texts with Multi-media Technology,” American
  Studies Association, Washington, D.C. (1997)
“Multi-Media and Post-Modernism,” H-Net Conference, Technology and the Future of History, East
  Lansing, Michigan (1997)
Comment on Jack Rakove’s Original Meanings, Society of the Historians of the Early Republic, State
  College, PA (1997)
“Teaching with Multi-Media Technology,” Indiana University, spring 1997 “Constitutional History from
  the Bottom Up: The Second Amendment as a Test Case,” McGill University, Montreal, Canada
  (1996)



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“Just Because You Are Paranoid, Does Not Mean the Federalists Are Not Out to Get You: Freedom of
   the Press in Pennsylvania,” University of Pennsylvania (1995)
“Multi-Media and Post-Modernism: The Future of American Studies?” Lecture, Erasmus University,
  Rotterdam, Netherlands (1995)
“Post-Modern American History? Ratification as a Test Case,” St. Cross College, Oxford University,
  Oxford, England (1994)
“The Other Founders," NYU Legal History Seminar,” NYU Law School (1994)
“Reading the Rhetoric of Ratification,” paper presented at “Possible Pasts: Critical Encounters in Early
  America,” Philadelphia Center for Early American Studies, Philadelphia, PA (1994)
“American Historiography and Post-Modernism,” Organization of American Historians, Atlanta, GA
  (1994)
“The Anti-Federalist Origins of Jeffersonianism,” Columbia Seminar on Early American History (1994)
“American History in a Post-Modern Age?” American Historical Association, San Francisco, CA (1994)
“Post-Modern Constitutional History?” Indiana University School of Law, Bloomington, IN (1993)
Participant, Institute of Early American History and Culture, planning conference, "New Approaches to
  Early American History," Williamsburg, VA (1992)
“Mere Parchment Barriers? Federalists, Anti-Federalists and the Problem of Rights Consciousness,”
  American Studies Association, Baltimore, MD (1991)
“James Madison and the Bill of Rights: a comment on papers by Jack Rakove, Ralph Ketcham and Max
   Mintz,” Organization of American Historians and Center for the Study of the Presidency Conference,
   "America's Bill of Rights at 200 Years," Richmond, VA, (1991)
Symposium participant, “Algernon Sidney and John Locke: Brothers in Liberty?” Liberty Fund
  Conference, Houston, TX (1991)
“Mere Parchment Barriers? Antifederalists, the Bill of Rights and the Question of Rights
  Consciousness,” Capitol Historical Society, Washington, D.C. (1991)
“Anti-Federalism and the American Political Tradition,” Institute of Early American History and Culture
Symposium, Williamsburg, VA (1989)


         Interviews, Editorials, Essays, Podcasts:

      “Clarence Thomas’ Latest Guns Decision Is Ahistorical and Anti-Originalist”
              SLATE June 24, 2022




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                                  Other Professional Activities
      Editorial Board, Constitutional Study, University of Wisconsin Press (2014-present)
      Advisory Council, Society of Historians of the Early American Republic (SHEAR) (2007-2009)
      Program Committee, Annual Conference, Society of the Historians of the Early American
       Republic, Philadelphia, PA 2008
      Editorial Board, American Quarterly (2004-2007)
      Director, Second Amendment Research Center, John Glenn Institute for Public Service and
       Public Policy, 2002- 2007
      Fellow, Center for Law, Policy, and Social Science, Moritz College of Law, Ohio State
       University 2001- 2004
      Local Arrangements Committee, Annual Conference, Society of the Historians of the Early
       American Republic, Columbus, OH 2003
      Project Gutenberg Prize Committee, American Historical Association, 2004, 2002
      Program Committee, Annual Conference, Society of the Historians of the Early Republic, 2001
      Co-Founder Ohio Early American Studies Seminar
      NEH Fellowship Evaluator, New Media Projects, Television Projects
      Multi-media Consultant and Evaluator, National Endowment for the Humanities, Special,
       Projects, Division of Public Programs, Grants Review Committee (1999)


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